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[Additional counsel appear on the signature page.]


                           UNITED STATES DISTRICT COURT
                                DISTRICT OF OREGON
                                PORTLAND DIVISION

 WILLIAM MARTELL, individually and on            Case No.: 3:20-cv-00284-SI
 behalf of all others similarly situated,
                                                 FIRST AMENDED CLASS ACTION
        Plaintiff,                               COMPLAINT

        v.

 GENERAL MOTORS LLC,

        Defendant.


       Plaintiff William Martell (“Plaintiff”), individually and on behalf of the other members of

the below-defined class (the “Class”), hereby alleges against Defendant General Motors LLC

(“GM” or “Defendant”), upon personal knowledge as to himself and his own acts, and as to all




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other matters upon information and belief, based upon the investigation made by the undersigned

attorneys, as follows:

                               I.       NATURE OF THE CASE

       1.      This class action lawsuit is brought by Plaintiff seeking damages and equitable

relief individually and on behalf of the other Class members, each of whom purchased or leased

one or more model year 2010-2014 GM vehicles fitted with GM’s defective Generation IV 5.3

Liter V8 Vortec 5300 LC9 engines (the “Generation IV Vortec 5300 Engines”).

       2.      GM made the Generation IV Vortec 5300 Engine available as an engine option in

the following vehicles:

                  Chevrolet Avalanche;

                  Chevrolet Colorado;

                  Chevrolet Express;

                  Chevrolet Silverado;

                  Chevrolet Suburban;

                  Chevrolet Tahoe;

                  GMC Canyon;

                  GMC Savana;

                  GMC Sierra;

                  GMC Yukon; and

                  GMC Yukon XL.




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Those vehicles listed above in which the Defective Engines were installed are defined herein as

the “Class Vehicles.”1

       3.      As more fully explained below, the Class Vehicles were engineered to fail. GM

failed to disclose the truth about these vehicles and failed to remedy the well-established defects

in the Class Vehicles that were on the road.

       4.      In 2006, for its model year 2007 vehicles, General Motors Corporation (“Old

GM”) introduced its redesigned Generation IV Vortec 5300 Engine and installed it in many of its

most popular vehicles, as listed above.

       5.      Unfortunately, the Generation IV Vortec 5300 Engine consumes an abnormally

and improperly high quantity of oil that far exceeds industry standards for reasonable oil

consumption. This excessive oil consumption results in low oil levels, insufficient lubricity

levels, and corresponding internal engine component damage.

       6.      On June 8, 2009, Old GM filed for protection under Chapter 11 of the United

States Bankruptcy Code. Defendant GM acquired its assets and, for model years 2010-2014,

continued manufacturing and selling Chevrolet and GMC vehicles equipped with the Generation

IV Vortec 5300 Engines.2

       7.      Multiple factors contribute to the excessive oil consumption problem in the

Generation IV Vortec 5300 Engines. The combination of these factors, and the resultant

excessive oil consumption, is herein referred to as the “Oil Consumption Defect.” It is an

inherent defect in each of the Class Vehicles.



1
  “Class Vehicles” are vehicles produced only after GM emerged from bankruptcy on July 10,
2009.
2
  Plaintiff does not assert any claims against Old GM, nor were any of the Class Vehicles
manufactured by Old GM.

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        8.      The primary cause of the Oil Consumption Defect is that the piston rings that GM

installed within the Generation IV Vortec 5300 Engines fail to keep oil in the crankcase.

        9.      The Active Fuel Management (“AFM”) system (which converts engines from

eight cylinder to four cylinder operation during light duty operation) that GM included in the

Generation IV Vortec 5300 Engines further contributes to the Oil Consumption Defect. The

AFM system comprises an oil pressure relieve valve that sprays oil directly at the piston skirts.

This oil spray overloads and fouls the defective piston rings, triggering oil migration past the

rings. The migrating oil either burns or accumulates as carbon buildup on the combustion

chamber’s surfaces. Separately, when in four-cylinder mode, the lack of combustion in the four

inactive cylinders invites excessive oil migration into the combustion chambers. Combustion

controls upward oil migration by providing an opposing force and by assisting piston ring

sealing, and when it’s absent the oil consumption accelerates.

        10.     In addition, the Generation IV Vortec 5300 include a flawed PCV system that

vacuums atomized oil from the valvetrain into the intake system, where it is ultimately burned in

the combustion chambers. This vacuuming process also contributes to excessive oil

consumption.

        11.     Exacerbating the excessive oil loss and concomitant engine damage problems

caused by the Oil Consumption Defect in the Class Vehicles is GM’s implementation of a

defective Oil Life Monitoring System in each of those vehicles that fails to advise drivers of

insufficient oil in their vehicles until those levels are critically low.

        12.     Despite its name, GM’s Oil Life Monitoring System does not monitor oil level.

Rather, it monitors engine conditions, such as revolutions and temperature, to calculate the

expected deterioration in oil quality and thus the time for a recommended oil change. The Oil



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Life Monitoring System’s adaptive change intervals do not take oil level into account. The result

is a system that directs drivers to travel thousands of miles with inadequate engine lubricity

levels, wearing out and damaging moving internal engine components – a particularly serious

problem in light of the fact that the Oil Consumption Defect causes improper and excessive oil

loss in each of the Class Vehicles.

       13.     In addition to the Oil Life Monitoring System (which does not monitor oil level),

the Class Vehicles include an oil pressure gauge on the dash and an oil canister image that will

ostensibly illuminate when a vehicle is low on oil. As discussed in more detail below, however,

the oil pressure gauge does not provide any indication as to when the oil pressure in the Class

Vehicles falls to levels low enough to damage internally lubricated parts or cause engine failure.

Nor does the oil canister symbol illuminate until well past the time when the Class Vehicles are

critically oil starved. Furthermore, even if the Class Vehicles did adequately warn drivers of

critically low oil conditions (which they do not), any such warnings would do nothing to prevent

the full scope of the harms caused by the Oil Consumption Defect.

       14.     Moreover, oil migration from the Oil Consumption Defect fouls spark plugs no

matter how often drivers top off their oil levels. Importantly, oil fouled spark plugs produce an

anemic/weakened spark, an intermittent spark and/or no spark at all – causing engine misfires

and shutdown events. Engine misfires and shutdown events put occupants at risk, as the Class

Vehicles become stranded in hazardous traffic conditions, dangerous weather conditions and/or

remote locations.

       15.     The Oil Consumption Defect can damage critical engine components and cause

drivability problems, such as lack of power from misfire, spark plug fouling, excessive engine

noise, abnormal vibration or shaking, piston cracking, head cracking, and, ultimately, engine



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seizure. These issues require Plaintiff and other Class members to react (typically by leaving the

flow of traffic and stopping on the roadside), therefore placing them at an increased risk of injury

or death. As more fully explained below, documents produced by GM in the Siqueiros Action

reveal these are the realities Class members experienced due to the Oil Consumption Defect.

       16.     Over the years, GM has instructed its dealers to address the excessive oil loss

problem in the Class Vehicles by performing stop-gap fixes of the Generation IV Vortec 5300

Engines’ PCV and AFM systems. Additionally, GM instructed dealers to decarbonize

combustion chambers and rings with chemical abrasives. Such fixes, however, failed to provide

a complete, and adequate, remedy for the Oil Consumption Defect that has plagued – and

continues to plague – each of the Class Vehicles. Moreover, GM did not disclose the Oil

Consumption Defect, or any of its causes, to consumers prior to their purchasing or leasing of

their Class Vehicles.

       17.     Beginning with certain of its model year 2014 vehicles, GM scrapped the

Generation IV Vortec 5300 Engine it installed and implemented in the Class Vehicles and

replaced it with a materially redesigned Generation V Vortec 5300 engine, which was designed

and intended to remedy the excessive oil consumption problem plaguing the Class Vehicles. As

part of that 2014 model year overhaul, GM installed an improved sealing ring package, an AFM

shield that deflected oil spray away from the piston skirts, and a new valve cover with relocated

and baffled PCV orifice, while, at the same time, reintroducing an oil level sensor.

       18.     While GM’s redesign of its Generation V Vortec 5300 engines confirms the prior

defects and may benefit subsequent purchasers and lessees of those vehicles, it did nothing for

the owners and lessees of the Class Vehicles, namely, Plaintiff and the other Class members.




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Those people remain saddled with their defective Generation IV Vortec 5300 Engines with no

relief from GM.

        19.      GM has long known of the Oil Consumption Defect and the resulting engine

damage. As shown more fully below, excessive oil consumption resulted in an extraordinary

number of complaints, dating back to model year 2007 vehicles with the Generation IV Vortec

5300 Engines. The complaints were so numerous that GM engineers started investigating the Oil

Consumption Defect in at least 2008, and concluded the piston rings were prematurely failing

and causing excessive oil consumption and internal engine wear.3 Further, GM issued Technical

Service Bulletins to its dealers (not consumers), prior to the sale and lease of the Class Vehicles,

which explicitly addressed the issue of excessive oil consumption in Generation IV Vortec 5300

Engines, and which recognized all causes of the Oil Consumption Defect: (a) the PCV flaw, (b)

the AFM flaw, and (c) flaws in piston rings.

        20.      Despite this knowledge, GM continued selling and leasing Class Vehicles without

ever disclosing the Oil Consumption Defect. Indeed, GM has never disclosed the Oil

Consumption Defect to consumers. Rather, GM has allowed drivers of the Class Vehicles to

continue driving those vehicles, despite knowing that they are consuming oil at an abnormally

high rate, and has continued allowing drivers of the Class Vehicles to rely on the Oil Life

Monitoring System, despite knowing that they were driving well past the point at which their

vehicles have consumed the amount of oil necessary for proper engine lubrication and proper,

safe operation. The result is Class Vehicles that suffer engine failure and engine damage,

including spark plug fouling, ring wear, lifter collapse, bent pushrods, camshaft wear, valve

wear, rod bearing wear, rod breakage, wristpin wear, wristpin breakage, crankshaft wear and


3
 Siqueiros et al. v General Motors LLC, 3:16-cv-07244-EMC (N.D. Cal.) (the “Siqueiros Action”), ECF No. 192 at
12.

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main bearing wear or destruction and other forms of internal component wear/breakage due to

unacceptable heat and friction levels and oil breakdown.

        21.     Each current or former purchaser or lessee of a Class Vehicle paid for a vehicle

fitted with a defective engine that consumed an abnormally high volume of oil, subjecting their

vehicles to the problems described herein. Each of these current and/or former owners and/or

lessees were damaged in that they paid more for their Class Vehicles than they would have paid

had they known about the defect that GM failed to disclose, or they would not have purchased or

leased their Class Vehicles at all.

                              II.     JURISDICTION AND VENUE

        22.     This Court has diversity jurisdiction over this action under 28 U.S.C. §§ 1332(a)

and (d) because the amount in controversy for the Class exceeds $5,000,000 and Plaintiff and

one or more of the other Class members are citizens of a different state than Defendant.

        23.     This Court has personal jurisdiction over GM because GM has purposefully

availed itself of the privilege of conducting business in the State of Oregon by advertising and

selling its manufactured vehicles (including the Class Vehicles) within the State of Oregon.

Additionally, GM has maintained systematic and continuous business contacts with the State of

Oregon and is registered to conduct business in this State.

        24.     Venue is proper in this District under 28 U.S.C. § 1391 because GM is deemed to

reside in any judicial district in which it is subject to personal jurisdiction. Additionally, Plaintiff

Martell purchased his Class Vehicle in this District, and GM has marketed, advertised, sold, and

leased Class Vehicles within this District.

                                          III.    PARTIES

A.      Plaintiff

        25.     William Martell is a resident of Klickitat, Washington.

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       26.     Mr. Martell owns a 2011 Chevrolet Silverado equipped with a Generation IV

Vortec 5300 Engine. Mr. Martell purchased his Silverado new in 2011 from Bob Stone

Chevrolet in The Dalles, Oregon.

       27.     Mr. Martell has noticed that his Silverado consumes an unusually high volume of

oil.

       28.     Mr. Martell first noticed excessive oil consumption in 2015 while his vehicle was

under warranty.

       29.     Mr. Martell’s vehicle has suffered numerous engine problems while under

warranty, which, upon information and belief, are due to excessive oil consumption and

corresponding inadequate lubricity. Mr. Martell experienced pre-ignition detonation,

valvetrain/lifter tick, spark plug fouling, rough idle, and engine shaking. On multiple occasions,

Mr. Martell sought warranty repair at Tonkin Chevrolet (formerly Bob Stone Chevrolet). Tonkin

performed an oil consumption test and replaced the vehicle’s fouled spark plugs on multiple

occasions.

       30.     Mr. Martell complained about oil consumption to Dalles Chevrolet, but the

service manager denied that the vehicle was using excessive oil according to GM standards and

told Mr. Martell that the oil consumption was normal under GM standards. Only after Mr.

Martell’s warranty expired did the dealership conduct an oil consumption test, in July 2017,

which confirmed that his vehicle was using excessive oil.

       31.     Mr. Martell did not receive any notification from GM regarding the Oil

Consumption Defect, and could not have known that the oil consumption in his vehicle was the

result of the Oil Consumption Defect until after Plaintiffs’ counsel’s investigation in late 2016.




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       32.     Prior to purchasing his 2011 Silverado, Mr. Martell reviewed GM’s promotional

materials, such as the Monroney Sticker affixed to the driver’s window and TV commercials

touting the reliability of GM products, and spoke with at least one sales representative – at no

time did GM disclose the Oil Consumption Defect.

       33.     GM failed to disclose the Oil Consumption Defect to Mr. Martell before he

purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Martell, therefore,

purchased his Silverado with the incorrect understanding that it would be a reliable vehicle.

       34.     Had GM disclosed the Oil Consumption Defect, Mr. Martell would not have

purchased his 2011 Silverado, or certainly would have paid less for it.

B.     Defendant

       35.     General Motors LLC (“GM”) is a Delaware limited liability company, with its

principal place of business located at 300 Renaissance Center, Detroit, Michigan, and is a citizen

of Delaware and Michigan. The sole member and owner of General Motors LLC is General

Motors Holding LLC. General Motors Holdings LLC is a Delaware limited liability company

with its principal place of business in the State of Michigan. The sole member and owner of

General Motors Holdings LLC is General Motors Company, which is a Delaware corporation,

with its principal place of business in the State of Michigan and is a citizen of Delaware and

Michigan.

                              IV.    FACTUAL ALLEGATIONS

A.     Introduction and Background

       36.     Beginning with certain model year 2000 vehicles, Old GM introduced its Vortec

5300 engines. The Vortec 5300 was met with anticipation and fanfare due to its close

resemblance to the adored 327ci of the 1960s, which was best known as the powerplant in the

Corvette Stingray.

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       37.       Old GM faced regulatory pressure to increase its fuel economy standards. In

December 2007, Congress passed the Energy Independence and Security Act of 2007, which

increased fuel economy standards by 40% by 2020.4

       38.       For certain model year 2007 vehicles, Old GM introduced its Generation IV

Vortec 5300 Engines.

       39.       The Generation IV Vortec 5300 Engines suffer from excessive oil consumption

and the resulting internal component damage caused by inadequate engine lubricity levels. This

excessive oil consumption problem negates any minor increase in performance associated with

those engines.

       40.       Old GM continued selling vehicles equipped with the Generation IV Vortec 5300

Engines through 2009.

       41.       On June 8, 2009, Old GM filed for protection under Chapter 11 of the United

States Bankruptcy Code.

       42.       Defendant General Motors LLC (“GM”) acquired the assets of Old GM and

emerged from bankruptcy on July 10, 2009. Defendant GM continued manufacturing and selling

vehicles under the GMC and Chevrolet brands.

       43.       For model years 2010-2014, GM manufactured and sold the Class Vehicles –

each of which came equipped with the defective Generation IV Vortec 5300 Engine.




4
 See “Fact Sheet: Energy Independence and Security Act of 2007” at https://georgewbush-
whitehouse.archives.gov/news/releases/2007/12/20071219-1.html

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B.     The Class Vehicles Suffer from Excessive Oil Consumption.

       1.      The Piston Rings in the Class Vehicles Lead to Oil Consumption and Engine
               Damage.

       44.     The primary cause of the Oil Consumption Defect is GM’s installation of piston

rings that do not prevent oil from being consumed in the combustion chamber, fouling spark

plugs, and creating harmful carbon buildup in the pistons and cylinders.

       45.     In the Generation IV Vortec 5300 Engines, as is normal in automobile engines,

pistons move vigorously up and down inside of cylinders, as shown below.




       46.     In order for the engine to run effectively and without causing engine damage,

such as heat and friction wear, the pistons and cylinders require a thin film of oil between the

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opposing metal surfaces. The oil reduces friction and heat, prevents surface scarring, and helps

the moving components slide freely past each other.

         47.   To keep oil in the crankcase, and to prevent oil from traveling around the pistons

and into the combustion chamber, pistons are fitted with compression and oil control rings

(collectively, “piston rings"). Rings must also withstand combustion pressures and hold

combustion gases in the combustion chambers, keeping the gases out of the crankcase, as shown

below.




         48.   The piston rings that GM installed in the Generation IV Vortec 5300 Engines fail

to achieve their intended purpose of keeping oil in the crankcase and out of the combustion

chamber. Further, the rings fail to achieve their intended purpose of trapping combustion gases

in the combustion chamber and out of the crankcase.

         49.   Excessive oil consumption occurs when piston rings wear and lose sealing

capacity.




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        50.      As stated by GM engineer Tom Halka at deposition in the Siqueiros Action, GM

intended for its piston rings to last “well over 100,000 miles.”5 Further, GM engineer Rich

Ricchi testified that GM never expects a customer to change piston rings for oil consumption.6

        51.      Yet, in the Generation IV Vortec 5300 Engines, GM’s rings wore out in vehicles

with only 30,000 miles.7

        52.      Piston ring wear causes oil consumption in two ways. First, oil is allowed to

travel past the compromised piston rings from the crankcase below, burning in the combustion

chamber during the combustion stroke. Second, blowby that reaches the crankcase blends with

oil in the crankcase, creating a mist of oil and exhaust gas. The oil mist is then vacuumed

through the engine’s PCV system into the intake manifold where it is recirculated into the

combustion chamber and burned, causing additional oil consumption.8

        53.      The Oil Consumption Defect causes the following problems.

        54.      First, oil travelling around the piston rings and reaching the combustion chamber,

where it is burned during the engines’ power stroke, reduces the quantity of oil in the vehicle,

reduces engine lubricity, and increases the risk of correspondent engine damage.

        55.      Second, the defective piston rings allow for oil to constantly foul the spark plugs

in the Class Vehicles. Spark plug electrodes protrude into the combustion chamber and generate

the ignition spark. Importantly, the electrodes must be dry and free of debris to fire properly.

When oil migrates into the combustion chamber in the Class Vehicles, the oil coats the spark

plugs’ electrodes and either weakens or altogether disables their firing function.




5
  Siqueiros Action, ECF No. 192 at 10.
6
  Id. at 11.
7
  Id.
8
  Id.

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         56.   Third, the oil that passes around the rings in the Class Vehicles, and that is not

burned in the combustion chamber, gathers and hardens, creating carbon buildup. Due to the

excessive carbon buildup in the combustion chamber and on top of the pistons, the Class

Vehicles suffer from pre-ignition detonation, or “spark knock” as it is commonly called. Pre-

ignition detonation disrupts the proper seating of the piston rings in their respective grooves,

which causes them to wear out as they grind against the cylinder walls improperly. This results

in the rings not sealing properly and thus allows for even more oil consumption. Pre-ignition

detonation also vaporizes the cylinder wall oil film, pushing it past the rings and into the

crankcase where it is vacuumed into the intake manifold via the PCV system.

         57.   The piston ring wear, and resultant oil consumption, is related to the ring coating.9

         58.   The piston rings in the Generation IV Vortec 5300 Engines are coated with an

anti-friction and anti-wear material.

         59.   Not all coatings are created equal, however, and the quality of the coating directly

effects a ring’s performance and longevity.

         60.   Improving the ring coating creates a more robust ring—improving durability and

reducing ring wear.

         61.   When GM first introduced the Generation IV Vortec 5300 Engines in model year

2007, it featured UCR rings coated with a ‘251 material.10

         62.   GM soon realized that the ‘251 rings were subject to premature wear, and from

August 2008 forward, GM installed ‘278 UCR rings as field fix replacement rings in 2007-2009

Generation IV Vortec 5300 Engines presented for piston assembly replacement.11



9
  Id.
10
   Id.
11
   Id.

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           63.      GM was thus aware of excessive ring wear in the Gen IV 5.3Ls as early as August

2008.

           64.      For model year 2010-2014 vehicles, GM used rings with the ‘278 material.

           65.      The switch to the ‘278 material, however, did not solve the problem of excessive

ring wear and oil consumption, as admitted by GM engineer Halka when he wrote, “[w]e are still

getting Gen IV LC9 engines returned due to poor oil consumption. They are very similar to the

2007 M.Y. issue – full face top ring at 30k to 50k miles…”12

           66.      Ultimately, GM began installing a more robust PVD coated ring during warranty

replacements starting in late 2014. By switching to PVD coating, GM sought reduced ring wear.

As stated by Mr. Halka in 2014: “[t]he current top ring coating is FM’s equivalent to ‘278

material. We know this has issues in the field with top ring wear causing oil consumption. We

had decided some months ago to switch Gen IV over to better material once Gen V is in

production with the ‘525 material (which is now in production). Changing to PVD would

eliminate the wear issue for the rest of the Gen IV production.”13

           2.       The AFM System in the Class Vehicles Contributes to Oil Consumption and
                    Engine Damage.

           67.      GM’s AFM system, installed in each of the Class Vehicles, contributes to oil

consumption and engine damage by overwhelming the independently defective piston rings.

           68.      The AFM system’s intended function is to deactivate four of the eight engine

cylinders for fuel-saving purposes in low-load operating conditions. The AFM system includes

an oil pressure relief valve that GM installed in the crankcase beneath the crankshaft.




12
     Siqueiros Action, ECF No. 192 at 12.
13
     Id.

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       69.     The AFM system’s oil pressure relief valve sprays oil directly into the engine’s

crankcase, creating an “oil tornado” within the crankcase that the PCV system recirculates into

the intake manifold and cylinders, which further contributes to premature ring wear.

       70.     The defective rings allow excessive quantities of oil in the combustion chambers

where it is burned. This leads to excessive oil loss.

       71.     In addition, the excessive oil spray collects on the piston ring surfaces forming

carbon buildup. Carbon buildup on the piston rings interferes with the rings’ seating in their

grooves, and thus interferes with the rings’ ability to seal out oil. Once the rings lose proper

groove seating, they become misaligned with the cylinder bores. Immediate and aggressive ring

deterioration occurs as the fragile rings scrape against the harder steel cylinder bores at

unintended angles.

       72.     GM acknowledged that the AFM system’s oil pressure relief valve contributed to

oil consumption and carbon buildup on the piston rings in TSB# 10-06-001, dated August 24,

2010. In that TSB, GM instructs its dealers to install a deflector over the AFM oil pressure relief

valve. This purported fix, however, fails to address the fundamental problem of the defective

piston rings, and thus does not resolve the Oil Consumption Defect. Indeed, in this TSB, GM

recognizes that piston and ring replacement is the ultimate fix.

       3.      The PCV System in the Class Vehicles Contributes to Oil Consumption and
               Engine Damage.

       73.     GM’s PCV system, as installed in each of the Class Vehicles, also contributes to

oil consumption and engine damage by vacuuming oil from the valvetrain.

       74.     The PCV system’s intended purpose is to vent valvetrain gas pressures and

recirculate that gas pressure into the intake manifold. The intake manifold distributes fresh air




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pulled through the intake filter, and recirculated air vented from the valvetrain, to the engines’

combustion chambers. PCV systems are not intended to vacuum oil from the valvetrain.

       75.      In the Class Vehicles, however, the PCV system vacuums oil from the valvetrain

and feeds it into the intake manifold runners and ultimately into the combustion chambers. By

vacuuming oil from the valvetrain, the PCV system results in increased oil consumption, carbon

buildup and the associated pre-ignition detonation, ring wear, ring failure, ring buildup, spark

plug fouling, combustion chamber oil burn, low lubricity levels, internal component wear and

component failure.

       76.      GM acknowledged that its PCV system contributed to oil consumption in TSB

#10-06-008, dated March 7, 2011. In that TSB, GM instructs dealers to “replace the left rocker

arm cover with GM P/N 12642655. This rocker arm cover has relocated PCV drain holes that

prevents PCV pullover into the intake manifold.” This purported fix does not address the

fundamental problem of the defective piston rings, and thus does not resolve the Oil

Consumption Defect. Indeed, in this TSB, GM recognizes that piston and ring replacement is the

ultimate fix.

       4.       GM’s Oil Life Monitoring System Exacerbates the Oil Loss and Engine
                Damage Problems Caused by the Oil Consumption Defect.

       77.      GM’s Oil Life Monitoring System, installed in each of the Class Vehicles,

exacerbates the oil loss and engine damage problems caused by the Oil Consumption Defect,

because the Oil Life Monitoring System fails to advise drivers of a decreased oil level in their

Class Vehicle, even at critically low levels.

       78.      The Oil Life Monitoring System alerts the driver to the estimated percentage of

oil life left before an oil change is required. With respect to the Oil Life Monitoring System, “oil

life” means the quality of the engine oil, not the oil level. The system uses varying factors to


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estimate oil health, such as heat cycles and engine running conditions. The Oil Life Monitoring

System does not, however, alert drivers to low oil levels or oil loss, thereby exacerbating the Oil

Consumption Defect by failing to alert owners or lessees of their Class Vehicles’ oil loss until it

is much too late.

       5.      The Class Vehicles Do Not Include a Warning System that Protects Drivers
               from the Effects of the Oil Consumption Defect.

       79.     In addition to the Oil Life Motoring System (which does not monitor oil level),

the Class Vehicles include an oil pressure gauge on the dash and an oil canister image that will

ostensibly illuminate when a vehicle is low on oil. But that’s not what it does in the Class

Vehicles.

       80.     Indeed, the oil pressure gauge in the Class Vehicles fails provide any indication as

to when a vehicle is dangerously low on oil. The oil pressure gauges in the Class Vehicles either

have no indicator that indicates when oil pressure is too low, or they contain a single red hash

mark. To the extent that there is a red hash mark on the oil pressure gauge, it is at the zero PSI

mark. Thus, the oil pressure gauges in the Class Vehicles do not indicate a dangerously low oil

level until the vehicles have no oil pressure. This is well beyond the point at which a lack of oil,

and oil pressure, will damage or destroy an engine.

       81.     Further, the oil canister symbol will not illuminate, and the Class Vehicles will

not provide any low oil pressure warning, until well past the time when the Class Vehicles are

critically low on oil. According to GM documentation, the minimum oil specification for the

Class Vehicles is 24 PSI. Based on testing performed on a Class Vehicle, the oil canister symbol

does not illuminate and a low oil pressure warning is not displayed until the oil pressure drops

below six PSI. An engine generating six PSI of oil pressure will suffer immediate internal

destruction if put under operating loads. This means that the Class Vehicles communicate no


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visible or audible warnings of destructive oil pressure levels until the engines internally seize or

disintegrate. Because the Class Vehicles provide no warnings prior to engine seizure or

disintegration, they put occupants’ safety at risk.

       82.     Furthermore, even if the Class Vehicles did adequately warn drivers of

dangerously low oil conditions (which they do not), any such warnings would do nothing to

prevent the full scope of the harms caused by the Oil Consumption Defect. Because the Oil

Consumption Defect results in oil migrating past the piston rings, it results in carbon buildup on

the ring and cylinder surfaces and fouls spark plugs, even if drivers diligently, and constantly,

top-off their oil. Once the spark plugs foul, hazardous engine misfire and engine shutdown

events are unavoidable.

C.     The Oil Consumption Defect Within the Class Vehicles Has Caused Excessive Oil
       Loss, Which Can Lead to Engine Damage.

       83.     The Oil Consumption Defect in the Class Vehicles results in excessive oil

consumption, pre-ignition detonation, ring wear, ring fouling, ring failure, and spark plug

fouling. It also results in inadequate engine lubricity, which creates increased friction, heat,

metal on metal contact, and resulting engine damage. That means that each Class Vehicle has

suffered, and will continue to suffer, internally lubricated component wear and failure.

       84.     The internal engine components subject to wear and failure include: pistons,

cylinder walls, rings, valves, valve guides, valve stem seals, lifters, push rods, camshafts,

rockers, bearings, piston rods, wrist pins, crankshafts, and timing chain components.

       85.     Due to the Oil Consumption Defect, all of the Class Vehicles have suffered, and

will continue to suffer, excessive oil consumption, creating metal-on-metal friction, heat levels

that far exceed GM’s specifications, and resulting engine damage and rapid destruction.




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       86.      Excessive friction and heat expansion will wear the internal steel components,

sending steel shavings into the crankcase. The steel shavings travel through the oil passages and

inevitably become lodged in tight spaces, where they cut into component surfaces moving

against them.

       87.      Once the internal components are scarred and/or worn, they cannot be repaired

and must be replaced. The friction and heat expansion damage caused by the Oil Consumption

Defect is irreversible.

D.     The Oil Consumption Defect Within the Class Vehicles Presents an Unreasonable
       Safety Risk.

       88.      As GM acknowledges, low oil conditions, such as those that can result from the

Oil Consumption Defect, present dangerous safety hazards to the driver, other passengers of the

Class Vehicles, and the public.

       89.      With insufficient oil and lubricity, the engines in the Class Vehicles will overheat

and potentially catch fire. For this reason, GM warns in the manuals for the Class Vehicles: “Do

not keep driving if the oil pressure is low. The engine can become so hot that it catches fire.

Someone could be burned.”

       90.      Low oil conditions are also unsafe because, if the engine experiences enough

damage, the Class Vehicles’ engines will seize and the Class Vehicles will shut down

unexpectedly, which could cause an accident or leave drivers and passengers stranded in an

unsafe situation. GM also warns against this possibility in the manuals for the Class Vehicles

when it states: “If you drive the vehicle while the engine oil pressure is low, severe engine

damage may occur. If a low oil pressure warning appears on the Driver Information Center

(DIC), stop the vehicle as soon as possible.”




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        91.      By way of example, the family of William Davis, one of the plaintiffs in the

Siqueiros Action, was stranded when his 2012 Silverado shut down on the highway. Moreover,

documents produced by GM in the Siqueiros action reveal that other Class members were left

stranded because of the Oil Consumption Defect.14 For example, one Class member submitted

the following complaint directly to GM: “I have a 9 mo [sic.] old son and my confidence is

down. It let me sit on a cold freezing night—happens sporadically.”15 Another Class member

told GM that “[t]his vehicle stranded his wife one night on her way home.”16 One Class member

complained to GM that their Class Vehicle “left me stranded at least 4 times.”17

        92.      Further, in deposition in the Siqueiros action, GM engineer Yoon Lee

acknowledged that low oil conditions can present safety hazards to the driver, other passengers,

and the public.18

        93.      The Oil Consumption Defect also causes an unreasonable safety risk because

excessive oil getting past the piston rings and fouling spark plugs causes engine misfires and

engine shutdown that can leave drivers stranded and without the use of their vehicle.

        94.      The ignition failure caused by fouled spark plugs results in sluggish throttle

response which places occupants in harm’s way as they interact with other traffic. A Class

Vehicle suffering from weakened ignition function cannot accelerate as GM intended. A Class

Vehicle suffering from total ignition failure will not even run. Both conditions place occupants

in any number of hazardous conditions that would not exist but for the Oil Consumption Defect.




14
   Siqueiros Action, ECF No. 193-13 at 19-20.
15
    Id.
16
   Id.
17
   Id.
18
   Siqueiros Action, ECF No. 192 at 17.

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        95.      For example, Plaintiff complains of experiencing rough engine running, engine

shaking, and valvetrain noise, which GM technicians attempted to repair with spark plug

replacement.

        96.      Moreover, documents produced by GM in the Siqueiros Action reveal that other

Class members experienced similar issues. For example, one Class member complained directly

to GM that “[t]wo nights ago I was headed home and the engine knocked. I had to pull over

because it was shaking.”19 Another Class member told GM that “truck died this morning when

driving downhill and had to pull over and restart truck.”20

        97.      As explained above, drivers are not protected from these safety risks by any

timely warning from their Class Vehicles that their oil levels are too low. As confirmed in

testing, the Class Vehicles do not provide any warning of low oil levels until the oil has already

reached a level that is concurrent with engine misfire and shutdown and therefore unsafe.

E.      GM’s Knowledge of the Oil Consumption Defect

        98.      GM knew of the Generation IV Vortec 5300 Engine oil consumption problem in

2008, according to Grant Tappan who conducted a Generation IV Vortec 5300 Engines oil

consumption root cause analysis.21

        99.      In May 2009, GM engineer Alan Miller recognized that the excessive oil

consumption likely followed from a defect in the piston rings.22

        100.      On June 8, 2009, before it sold the first Generation IV Vortec 5300 Engine

powered Class Vehicle, GM launched a “Red X” investigation to determine the root cause of the

Generation IV Vortec 5300 Engine oil consumption defect.


19
   Siqueiros Action, ECF No. 193-13 at 19.
20
   Id.
21
   Siqueiros Action, ECF No. 192 at 12.
22
   Id.

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          101.   On January 8, 2010, the Red X team produced its “Executive Report” that

documented the team’s findings and conclusions related to Generation IV Vortec 5300 Engine

excessive oil consumption. Within the Executive Report, GM states, “[o]il consumption clearly

follows the piston/ring assembly.”23

          102.   By tearing down Generation IV Vortec 5300 Engines that failed in the field, the

Red X team confirmed its piston rings exhibited 100% full face wear. GM’s piston ring expert,

Mr. Halka, observed the oil consumption was a result of top ring (UCR) wear.

          103.   Through in-warranty Generation IV Vortec 5300 Engine teardowns, GM

confirmed that Class Vehicle ‘278 piston rings wore prematurely in the field, some as early as

30,000 miles.

          104.   During August 2011 teardowns, GM noted piston ring wear allowed oil to

migrate past the piston rings. The teardowns also revealed that oil consumption caused engine

component failure.24

          105.   In response to its Red X investigation, GM implemented minor production-level

modifications (which GM refers to as “breakpoints”) aimed at remedying the Oil Consumption

Defect in the Class Vehicles.

          106.   In October of 2010, GM shielded the AFM relief valve by directing oil spray

downward into the sump, and in February 2011, GM designed a new PCV cover in an attempt to

better separate the oil/air mixture passing through the valve train and into the intake via engine

vacuum.25




23
   Id.
24
   Id. at 13.
25
   Id. at 14.

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         107.     Despite the updates, the Generation IV Vortec 5300 Engines continued to exhibit

the Oil Consumption Defect. GM engineers Toth and Halka both acknowledged, at deposition in

the Siqueiros Action, that the engines continued to consume excessive amounts of oil post-

breakpoints.26

         108.     Further, Mr. Halka and Mr. Lee confirmed, at deposition in the Siqueiros Action,

that installing the AFM shield and modified PCV cover did not cure the oil consumption

defect.27

         109.     On October 10, 2012, GM engineer Pfromm wrote that GM continued to receive

excessive oil consumption complaints “on vehicle[s] built after the improvements.”28

         110.     In October 2012, GM engineers “confirm[ed] the new [PCV] valve cover baffle

does not completely kill the PCV pullover on the Gen IV engines” and that Class Vehicles still

exhibited the Oil Consumption Defect.

         111.     On October 11, 2013, Halka wrote Class Vehicle piston ring supplier MAHLE

and stated:

                  We are still getting Gen IV LC9 engines returned due to poor oil
                  consumption. They are very similar to the 2007 M.Y. issue – full
                  face top ring [wear] at 30k to 50k miles. . . . Even though this
                  engine will be out of production soon, we will be getting many
                  back for warranty fix. We are already getting word than [sic.] ones
                  we fixed at 50k to 80k miles are consuming oil at 140k (no
                  surprise…..) We want to give customers a better chance of it
                  really being fixed after a warranty rebuild.29




26
   Id.
27
   Id.
28
   Id.
29
   Id. at 14-15 (emphasis added).

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          112.   On July 17, 2014, a GM engineer wrote to Halka, stating “We would love to see a

move for service rings. We continue to see alum[inum] blocks up through 2013 with oil

consumption.”30

          113.   On March 10, 2015 (approximately five years after the breakpoint updates) in

response to Karl Burnside’s question, “[d]o you still need the below kits service put together for

oil consumption?” Halka responded “[y]es, we should. Gen IV still has problems.”31

          114.   GM’s knowledge of the Oil Consumption Defect is further evidenced by GM’s

warranty data, which reveals high volumes of piston assembly replacement and oil consumption

complaints in 2007-2014 Gen IV 5.3L equipped vehicles. Indeed, GM engineer Steve Pfromm

admitted that he became aware of excessive oil consumption from the warranty data at least as

early as the “2009, early 2010 time frame.”

          115.   GM’s piston replacement warranty data also contains records of Class Vehicles

purportedly “fixed,” but later presented for Oil Consumption Defect repair.

          116.    Further, GM studied spark plug oil fouling in Class Vehicles in August 2011.

GM noted that, since 2008, Generation IV Vortec 5300 Engines created “significantly higher”

warranty claims of vehicles presenting with spark plugs described as, “oil fouled, black-grey ash

deposits which were caused by burning oil, cracked ceramic (typically caused by excessive oil in

combustion chamber, but can be caused by other issues).”32

          117.   GM generated a Problem Investigation report in December 2012 that documented

2012-2013 vehicles with Generation IV Vortec 5300 Engines presented to dealerships along with

complaints of the following: “a service engine soon light being on, rough running engine, and/or



30
   Id.
31
   Id.
32
   Id. at 17.

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oil consumption.” The Problem Investigation report documented oil fouled spark plugs and

misfire condition in the 2012-2013 Class Vehicles, all of which were post-breakpoint equipped

machines. GM designated this report “[c]onfidential – not to be produced for distribution

outside of General Motors,” and withheld the findings from the public.33

           118.   GM’s awareness of the Oil Consumption Defect is also evident from the fact that

GM abandoned the design flaws causing excessive oil consumption in the Class Vehicles in its

redesigned Generation V Vortec 5300 Engines. GM’s redesign of the defective Generation IV

Vortec 5300 engines began as early as May 2011.34

           119.   Further, as shown below, excessive oil loss has been a common complaint among

drivers of vehicles fitted with the Generation IV Vortec 5300 Engines, dating back to vehicles

manufactured by Old GM. For example, at www.carcomplaints.com, there are posts from as

early as June 2008 regarding excessive oil consumption problems with the 2007 Chevrolet

Silverado with the Generation IV Vortec 5300 engine. Indeed, an online search reveals an

extraordinary number of complaints regarding excessive oil consumption in Generation IV

Vortec 5300 Engines, including many from prior to 2009.

           120.   Knowledge derived from complaints received by Old GM can be imputed to

Defendant GM, at least insofar as that knowledge was in the possession of an Old GM employee

who continued employment at New GM or contained in a file transferred from Old GM to New

GM. See In re Motors Liquidation Co., 541 B.R. 104, 108 (Bankr. S.D.N.Y. 2015). As

recognized by the Second Circuit, Defendant GM immediately took over the business of Old



33
     Id.
34
  Mike Levine, Inside GM’s State-of-the-Art Powertrain Engineering Center,
PICKUPTRUCKS.COM, May 17, 2011, http://news.pickuptrucks.com/2011/05/inside-gms-state-of-
the-art-powertrain-engineering-center-.html.

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GM, without any “reorganization” as traditionally takes place in the case of a bankruptcy. Elliot

v. GM LLC, 829 F.3d 135, 145-46 (2d Cir. 2016). Thus, upon information and belief, Defendant

GM, at its inception, also had knowledge of the Oil Consumption Defect from complaints from

drivers of vehicles with the Generation IV Vortec 5300 engines.

       121.     Moreover, as discussed further below, complaints regarding excessive oil

consumption in vehicles with the Generation IV Vortec 5300 engines continued following the

commencement of Defendant GM’s business in 2009.

       122.     Faced with the fact that vehicles with Generation IV Vortec 5300 engines were

suffering excessive oil and engine damage due to the Oil Consumption Defect, and that

consumers were complaining about this, GM issued multiple Technical Service Bulletins

addressing the oil consumption issue (“TSBs”).

       123.     The TSBs stated that the oil loss in the vehicles with Generation IV Vortec 5300

engines could be caused by two conditions: (a) oil pulled through the PCV system; or (b) oil

spray that is discharged from the AFM system’s pressure relief valve within the crankcase. The

TSBs suggested fixes for each of these issues, but recognized that neither fix may solve the oil

loss problem. Indeed, these fixes do not solve the oil loss problem. Rather, as stated in the

TSBs, the ultimate fix for the oil consumption problem was the replacement of the piston

assemblies.35

       124.     In August 2010, GM issued its first TSB (for 2007-2009 Generation IV Vortec

5300 Engines powered vehicles and Class Vehicles) for the Oil Consumption Defect. In this first

TSB addressing the Oil Consumption Defect, GM directed dealerships to, as an initial step,




35
  See TSB No. 10-06-01-008G: Engine Oil Consumption on Aluminum Block/Iron Block
Engines with Active Fuel Management.
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“[f]ree Up Piston Rings and install AFM shield.” According to GM, freeing up piston rings

involved a piston cleaning procedure. Despite the instructions in its TSBs, GM knew before it

issued its first TSB in August 2010 that the piston cleaning procedure was “ineffective.” GM

engineer Cygan documented this fact in his February 2010 “5.3L LC9 Oil Consumption” report.

         125.   Moreover, piston assembly replacement warranty data that GM produced to

Plaintiffs shows no material reduction in claims following the October 2010 AFM shield and

February 2011 PCV rocker cover breakpoint modifications.

         126.   On November 26, 2014 GM issued its final Oil Consumption Defect TSB (for

2007-2009 Generation IV Vortec 5300 Engine powered vehicles and Class Vehicles) for the Oil

Consumption Defect. Between its initial TSB and the final TSB, GM released twelve iterations

addressing the Oil Consumption Defect. But for the addition of a PCV baffle modification in

February 2011, and the annual addition of newly produced affected models, GM never changed

its diagnosis and repair regime.

F.       Consumers Repeatedly Complained About Excessive Oil Consumption and Engine
         Damage in the Class Vehicles.

         127.   Numerous complaints have been filed with the National Highway Traffic Safety

Administration (“NHTSA”) regarding excessive oil loss and resultant engine damage in the

Class Vehicles. By way of example:

        On September 14, 2014, a consumer reported an excessive oil consumption problem with

         a 2010 Chevrolet Silverado 1500:

         Excessive oil consumption caused spark plugs to prematurely fail causing the
         engine to misfire and run rough. . . . Initial repairs did not correct the oil
         consumption problem (1/2 quart burned in approximately 1,000 – 2,000 miles) . . .
         . I was told this was “normal” according to General Motors’ standards.

NHTSA ID number: 10633824.



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      On March 31, 2015, a consumer reported an excessive oil consumption problem with a

       2011 Chevrolet Avalanche:

       At 40000 we noticed we were having issues with my Avalanche burning oil.
       When we asked the tech at Chevy he told me that was normal for the newer
       engines to burn oil, at 130,000 miles we started having problems with the
       sparkplug fouling out . . . . At 180,000 mile and only four years old we had to
       replace the engine after replacing the sparkplug and wire 3 times. . . .

NHTSA ID Number: 10852819.

      On January 12, 2016, a consumer reported an excessive oil consumption problem with a

       2010 Chevrolet Suburban: “The vehicle is consuming excessive amounts of engine oil

       and fouling spark plugs.” NHTSA ID Number: 10819877.

      On February 4, 2016, a consumer reported an excessive oil consumption problem with a

       2011 Chevrolet Suburban: “Excessive oil consumption that GM refuses to fix under

       warranty.” NHTSA ID Number: 10826046.

       128.   Consumer complaints about excessive oil consumption and resultant engine

damage in the Generation IV Vortec 5300 Engines long predated the Class Vehicles. Indeed,

numerous consumer complaints were filed with NHTSA regarding excessive oil loss and

resultant engine damage within pre-2010 vehicles manufactured by Old GM and equipped with

the Generation IV Vortec 5300 Engines. By way of example:

      A consumer reported an excessive oil consumption problem with a 2007 Chevrolet

       Silverado 1500: “The contact stated that the engine was consuming excessive oil. The

       vehicle was taken to the dealer, who stated that the vehicle was operating to standard and

       that it was normal for a vehicle to burn oil between maintenance. The manufacturer was

       made aware of the failure. The vehicle was not repaired. . . . The consumer stated the




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         dealer stated this is a malfunction with the oil consumption. The manufacturer denies any

         malfunctions.” NHTSA ID Number: 10498188.

        A consumer reported an excessive oil consumption problem with a 2007 GMC Yukon:

         “The contact stated that the vehicle would continue to drive sluggish and consume

         excessive amounts of oil. The vehicle was not repaired. Manufacturer was made aware of

         the failure.” NHTSA ID Number: 10854334.

         129.   Owners of the Class Vehicles, and their Old GM-manufactured predecessors with

the Generation IV Vortec 5300 Engines, have also posted an extraordinary number of online

complaints about excessive oil consumption with the Generation IV Vortec 5300 Engines.

         130.   For example, on www.carcomplaints.com, there are 68 complaints regarding

excessive oil consumption from owners of 2007 Chevrolet Silverados equipped with the

Generation IV Vortec 5300.36 Excessive oil consumption is the most commonly listed problem

with the 2007 Silverado. These complaints include:

        “Must add ½ quart of oil 1800-200 miles after each oil change and then again each 700

         miles until new oil change.” (June 15, 2009)

        “[A] quart of oil every 800 miles. Now the lifters clack every start up until they get oil.

         Now I am hearing a low knock, main bearing maybe.” (Jan. 1, 2010)

        “I started to have problems with my new 2007 Chevy Silverado in 2010 at 45,000 miles. I

         had multiple fixes attempted but it continued to burn oil. They performed a repair

         consisting of changing the valves, pistons, and rings which cost $1800. . . . The truck is

         now at 164,000 miles and I am burning through a quart of oil a week.” (Mar. 1, 2016)


36
   Consumer Reviews of 2007 Chevrolet Silverado, available at:
http://www.carcomplaints.com/Chevrolet/Silverado/2007/engine/excessive_oil_consumption.sht
ml

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        “DO NOT purchase a 2007 Chevrolet Silverado unless you want to spend more time

         putting oil in the engine than you do driving the vehicle itself. I love Chevrolet Silverados

         but I am extremely disappointed with this issue because there isn’t a fix.” (June 1, 2014)

        “The 5.3 uses a quart of oil every 1000 miles since it was new.” (July 1, 2008)

        “From day one this truck has burned about a quart an oil change, and no, this isn’t

         normal. Traction control problems, engine reduced power, this problem cripples the

         vehicle.” (Jan. 1, 2007)

        “The 2007 Silverado 1500 5.3L I have has been using oil and like everyone else I got the

         run around from the dealership.” (Jan. 2, 2010)

        “They Chevy dealer had it in the shop for 3 days . . yes it was under warranty still,

         however they did not fix the damn problem!!! . . . I complained once again. . . . I was told

         I had to take it to a Chevy dealer for oil change so it could be tracked, so I did their

         solution . . straight from the shop manager was, ‘Chevy had sent emails to them regarding

         this problem and they were recommending you get your oil changed every 2000 miles!!!

         This is fraud boys.” (June 15, 2010)

         131.   Further, on www.carcomplaints.com, there are 33 complaints regarding excessive

oil consumption from owners of 2008 Chevrolet Silverados equipped with the Generation IV

Vortec 5300.37 Excessive oil consumption is the most commonly listed problem with the 2008

Silverado. Exemplary complaints include:

        “Purchased my truck brand new in 2008. Started using oil at 60,000 miles. Mentioned

         this several times & GM says this is normal. Now, it is requiring at least a quart of oil to


37
   Consumer Reviews of 2008 Chevrolet Silverado, available at:
https://www.carcomplaints.com/Chevrolet/Silverado/2008/engine/excessive_oil_consumption.sh
tml

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       be added at 2,000 miles between oil changes. I’ve also had to change plugs & wires due

       to this. I have always maintained my truck & looks better than most out there. Trying to

       make a decision on what I should do. I feel GM should take care of this because it has

       been a known problem from 2007. . . .” (June 2, 2017)

      “I started to notice the problem when there was oil missing at my first oil change in 2011.

       After that every 3000 miles I was adding two quarts of oil between changes. So from

       now on I’m adding a quart of oil approximately every 1000 miles, that’s a serious

       problem.” (Feb. 1, 2011)

      “Burning oil at 3 quarts between oil changes and starting to hear a rattle in the engine”

       (May 15, 2014)

      “My 2008 Silverado has been using oil at a rate of 2-3 quarts between oil changes. . . .

       The latest check today now puts it at about a quart every 1000 miles. . . . . I bought this

       truck new to be my keep til I die truck. Now I am concerned that keeping it – even if GM

       repairs it – will be nothing but trouble later.” (Oct. 2, 2012).

      “Been a Chevy buyer all my life (47 years . . . 10 vehicles). Bought my 2008 Silverado

       1500 LT1 brand new and always got regular maintenance and oil changes. No issues at

       all until Check Engine Light comes one . . . LOW OIL PRESSURE. I pull over, check

       oil level and THERE IS LITERALLY NO OIL ON THE STICK…BONE DRY. I limp

       to the nearest gas station and it took 4.5 quarts to bring the oil level to normal.

       UNBELIEVABLE considering I had oil & filter change 2 weeks prior and had no leaks.”

       (Sept. 22, 2011).

       132.   Further, on www.carcomplaints.com, there are 43 complaints regarding excessive

oil consumption from owners of 2009 Chevrolet Silverados equipped with the Generation IV


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Vortec 5300. 38 Excessive oil consumption is the most commonly listed problem with the 2009

Silverado. Exemplary complaints include:

        “09 Silverado 5.3 burning 1 quart of oil in 1000 miles is ridiculous.” (Dec. 6, 2016)

        “Upset about 2009 Silverado oil consumption, no recalls from Chevy to take care of this

         problem, no solution when talked with Chevy dealer, they claimed a qt every 1000 miles

         was normal, very disappointed with GM.” (April 4, 2012)

        “Very high oil consumption on 2009 silverado. No signs of leaking.” (April 16, 2016)

        “I’ve always been a General Motors truck buyer. I’m totally crippled (handicapped) I

         have five back fractures that are inoperable. . . . I bought a new, 4 miles on it, 2009

         Chevy Silverado 5.3L LTZ package. After my third oil & filter change, I was told by a

         service mechanic that my engine oil was very low. He was surprised because he knows

         how often he changes my oil, and that he saw no leaks. I had him check every 400 miles

         or so. He told me I might have a serious problem. I’m blowing out approximately 2

         quarts of oil every 600 miles. Since that time, I no longer drive my truck. I can’t afford

         to break down, while using a wheelchair. . . . So I’m now the proud owner (paid for) of

         a 2009 Silverado LTZ that I won’t trust to drive. I’m now a recluse in my home.” (Nov.

         3, 2015)

        “I had to stop on the side of the road due to the Low Oil Pressure light coming on. I

         found no oil on the dipstick and had to walk to the store to get 4 quarts of oil. This was

         within 3000 miles of an oil change. The dealership did an oil consumption analysis and




38
   Consumer Reviews of 2009 Chevrolet Silverado, available at:
https://www.carcomplaints.com/Chevrolet/Silverado/2009/engine/excessive_oil_consumption.sh
tml

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         stated that it was normal for this engine to use 1 quart of oil every thousand miles.” (Jan.

         18, 2013)

        “Truck uses excessive oil, a quart every 1000 miles. . . . gone back to dealer 3 times to no

         avail, they tell me my oil is within operating range even tho I’m down a quart . . . . . they

         tell me to come back every 1000 miles. . . .” (Aug. 1, 2009)

        “I own three 2009’s. all have the exact same oil consumption problem. They are located

         in three different cities and I have gotten three different stories from the dealers until

         recently. All are making us record oil consumption on a weekly basis. One tried the

         shield the recall refers to but it did not help.” (Feb. 4, 2010)

        “Just got oil changed after 3k miles and only 1.5 liters was left in the engine. There are

         no leaks and no smoke.” (Nov. 4, 2011).

        “I’ve always had a Chevy, and I usually have minimal problems but having to pour 4

         quarts of oil in between oil changes is annoying to say the least. Especially since this is

         my first show room vehicle, the other 3 were used.” (Nov. 10, 2010)

         133.   Further, on www.carcomplaints.com, there are 12 complaints regarding excessive

oil consumption from owners of 2010 Chevrolet Silverados, equipped with the Generation IV

Vortec 5300.39 Such complaints include:

        “I began noticing the issue with excessive loss of oil when the vehicle had around

         25,000+/- miles on it. I had to add 2-3 quarts of oil approx. every 1000-1500 miles.”

         (April 2, 2015)




39
   Consumer Reviews of 2010 Chevrolet Silverado, available at:
https://www.carcomplaints.com/Chevrolet/Silverado/2010/engine/excessive_oil_consumption.sh
tml

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     “Bought my 2010 Silverado 4WD with the 5.2 (used) and had it for about 15 months. . . .

      . I went to start it one morning and it was acting like maybe a bad fuel filter (rough

      running and not getting enough fuel). Took it to the dealership where I purchased it and

      the mechanic after an hour or so came out holding a couple of spark plugs. Claimed it

      was the #1 and #7 plugs and it appeared to be carbon up and fouled. Note: these plugs

      only had about 20k miles on them. Mechanic went on to say that they see this A LOT

      with the 5.3 and that the only true fix is to replace the rings and pistons which will cost

      somewhere nere $4700. . . .Bottom line here is, Chevrolet has known about the 5.3 oil

      consumption issues for years and has done NOTHING to correct it and these so called

      service contracts that cover “EVERYTHING” except engine problems caused by carbon

      buildup, sludge, stuck rings AND oil consumption - the average owner has no idea ANY

      of this is happening within their engine until it fails. . . . .” (June 1, 2016)

     “[A]fter 100,000 miles an 2 coil pacts and 5 spark plugs I still have miss fire an heavy oil

      consumption. The local GM says I need new pistons an rings that will cost between

      4,000 and 5,000 dollars to fix it.” (May 5, 2016)

     “I had an oil change less than 3000 miles ago. I checked the oil level after the oil change

      and it was right where it should be. I was driving down the highway the other day and

      the check engine light came on. The oil pressure gauge dropped below normal, vertical

      position. Note: the ‘Check Oil’ light never came on! I pulled into a gas station and

      checked the oil. Nothing was on the dipstick. Added a quart. Nothing. I finally had oil

      appear on the dipstick after adding another ½ quart. . . . It took 3 full quarts to bring it up

      to normal oil level. On the ‘Oil Life Remaining’ information panel it says 12%. So, less




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         than 3000 miles and the truck needed 3 quarts of oil. Something is definitely wrong!”

         (Jan. 31, 2015)

        “Truck has been in and out of the dealership 18 times regarding ticking in the motor,

         excessive oil consumption and blue smoke on start up.” (Feb. 9, 2015)

         134.     Further, on www.carcomplaints.com, there are 180 complaints regarding

excessive oil consumption from owners of 2007 Chevrolet Suburbans, equipped with the

Generation IV Vortec 5300.40 Excessive oil consumption is the most commonly listed problem

with the 2007 Suburban. Exemplary complaints include:

        “I have had this vehicle into GM with this issue at least 3 times. Once at about 35,000

         miles, again at about 50,000 miles, and again at about 70,000 miles. I have up as they

         told me they would not replace the engine. I have been a loyal GM owner for 34 years. I

         haven’t ever had an engine start using oil like this until it was leaking it or had over

         100,000 miles. Something is wrong and GM should do something about it.” (July 28,

         2008).

        “The engine burns through oil before it is time for another oil change and we only drive

         back and forth to work about 20 miles per day!!! We must have oil on hand at all times!!!

         This is ridiculous! Certainly not worth the money you pay for the SUV!” (Oct. 9, 2015)

        “Apparently we are having the same issue that most 2007 Suburban owners are having

         with excessive oil consumption. Currently 1 quart every 500-1000 miles. What a black

         eye for Chevy! I didn’t realize the extent of the issue until I started researching online and

         found volumes of complaints.” (Mar. 15, 2013)


40
   Consumer Reviews of 2007 Chevrolet Suburban, available at:
https://www.carcomplaints.com/Chevrolet/Suburban/2007/engine/excessive_oil_consumption.sh
tml

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     “All I can say about the 2007 Suburban is it is an oil sucking money pit!!! . . . It started

      sucking down a quart of oil every 2000 miles after we got to 85000 miles. We had to

      have two cylinders repaired and the cam lifter. Also, the rings and a bunch of other stuff

      I can’t even remember. . . . The dealership was less than helpful.” (Dec. 30, 2011)

     “The truck started using about 1.5 quarts of oil per month depending on the amount of

      driving. All of a sudden the engine light came on and lights on the dash. The vehicle

      was miss firing and running rough, so much so you could not drive it. . . . It turned out to

      be two plugs fowled with oil. (This has happened several more times.) . . . . I was told the

      only way to cure this is engine replacement. . . . I think GM should step up and admit that

      they have a chronic problem with this model engine.” (Sept. 30, 2011)

     “Like many others, we are experiencing the same Excessive Oil Consumption with our

      LTZ. We can drive it for approx. 800 miles and yup, you guessed it, we need to put at

      least a quart of oil in it. I have had numerous situations where I will check the dip stick

      and it is BONE dry. This is clearly unacceptable and it is a shame that GM is not

      stepping up to the plate to create a fix.” (Mar. 18, 2011)

     “General Motors should stand behind there products. They have proved to just ignore the

      complaints and give you the run around.” (Sept. 2, 2010)

     “We were having excessive oil issues almost immediately. We took it in, and the local

      dealership said they were aware of the issue, and they had a fix coming and would let us

      know when it was available. We took it back in just before 100,000 and were told the

      same thing. Now 60,000 miles later, not only do we have a large oil spring on our

      driveway, and blue smoke when we start it, but the engine has a terrible knocking.




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         We’ve been adding oil on a much too regular basis. I think we were sold a lemon, and

         they did not want to deal with [it].” (June 1, 2010).

         135.    Further, on www.carcomplaints.com, there are 34 complaints regarding excessive

oil consumption from owners of 2008 Chevrolet Suburbans, equipped with the Generation IV

Vortec 5300.41 Excessive oil consumption is the most commonly listed problem with the 2008

Suburban. Exemplary complaints include:

        “From what I can gather, the 5.3 L V8 engines in a lot of Suburbans over many years all

         have this problem of 2-3 quarts of oil being consumed between oil changes. This is no

         not normal. I’ve never had any car do that before in 30 years of owning cars. GM need

         to address this issue.” (April 10, 2015)

        “At approximately 40,000 to 50,000 miles started to notice my oil consumption

         rising. . . . At about 80,000 miles it was up to a quart every 1,000 miles . . . .That’s when

         I found many other owners with the same problem and discovered the two GM

         recommended fixes. . . . Both GM Service Bulletin fixes implemented, end of problem,

         right??? Wishful thinking. Still consumes a quart every 2,000 miles or less.” (Jan. 1,

         2010)

        “As with many others with the 5.3L AFM engine, mine is burning 1 qt every 800 miles or

         so. Spark plugs gummed up with oil, running rough, and even a smell of burn oil.” (Jan.

         27, 2014)

        “Oil consumption issues are all over the internet and market in 2008 Suburbans. We

         bought ours new and have taken it to Chevy dealers for all service and scheduled


41
   Consumer Reviews of 2008 Chevrolet Suburban, available at:
https://www.carcomplaints.com/Chevrolet/Suburban/2008/engine/excessive_oil_consumption.sh
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         maintenance and continue to do so. Around 54,000 miles we started to see excessive oil

         consumption. Chevy has had service bulleting after service bulletin concerning this

         issue. Band-aid after band-aid by GM has not fixed the problem. Now we deal with

         Stabilitrak and Traction Control warning lights, engine lights, low oil pressure warnings,

         and fouled spark plugs all tied to this unidentified unresolved issue on a regular basis. As

         always, GM puts another band aid on the problem, tells me that its normal for this engine

         to burn a quart of oil every ‘2,000’ miles (even[] though its really 1,200). . . .” (Oct. 10,

         2010).

        “2008 Suburban is going through excessive amounts of oil. Plan on a visit tomorrow to

         my local Chevy dealership about the problem.” (May 1, 2010)

        “I purchased my 2008 Chevy Suburban LT March 2008. I was taking my wife out on our

         anniversary when my engine light came on (90 miles from home). I pulled over checked

         the oil and there was none showing on the stick. I added 2 qts then and another 2 qts

         once I got home the next day. . . . Dealership is stating GM is not letting them know how

         to fix the problem.” (Aug. 6, 2010)

         136.     Further, on www.carcomplaints.com, there are seventeen complaints regarding

excessive oil consumption from owners of 2009 Chevrolet Suburbans, equipped with the

Generation IV Vortec 5300.42 Excessive oil consumption is the most commonly listed problem

with the 2009 Suburban. Exemplary complaints include:

        “excessive oil consumption, 3 QUART LOW WHEN OIL CHANGE OR SOMETIMES

         BONE DRY” (June 21, 2012)


42
   Consumer Reviews of 2009 Chevrolet Suburban, available at:
https://www.carcomplaints.com/Chevrolet/Suburban/2009/engine/excessive_oil_consumption.sh
tml

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        “Engine uses more oil than gas.” (Jan. 18, 2016)

        “Chevrolet is highly aware of this problem. I have been dealing with this for over 50k

         miles. Never should a consumer be expected to pay for a known manufacturer problem

         but that is exactly what is being expected of me.” (Dec. 2, 2015)

        “My wife’s 2009 Suburban began to lose/use oil at an unbelievable rate at about 30,000

         miles without evidence of oil loss or burn. 2 of the 3 times, no check oil or warning

         proceeded the more serious symptoms of loud engine tapping and black smoke. Dealer

         has no answer thus far.” (Nov. 28, 2012)

         137.    Further, on www.carcomplaints.com, there are 68 complaints regarding excessive

oil consumption from owners of 2007 Chevrolet Avalanches, equipped with the Generation IV

Vortec 5300.43 Excessive oil consumption is the most commonly listed problem with the 2007

Avalanche. Exemplary complaints include:

        “Our avalanche needs at least a quart of oil every 1000 miles. We obviously carry oil

         . . . .” (Jan. 6, 2014)

        “Definitely burning oil! I’m not sure exactly the issue but it seems like a lot of other

         owners are having the same problem! I would gladly endorse any legal action taken to

         correct the problem with this engine!” (Aug. 10, 2015)

        “Like others with the 2007 5.3L engine, my Avalanche starting going through oil at an

         average of one quart every 1,100 miles at about 30,000 miles. The dealer told me

         ‘normal’ oil consumption was up to one quart every 1,800 miles. After monitoring it for

         oil consumption, they added the oil deflector and it decreased oil consumption to a quart


43
   Consumer Reviews of 2007 Chevrolet Avalanche, available at:
https://www.carcomplaints.com/Chevrolet/Avalanche/2007/engine/excessive_oil_consumption.s
html

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      every 2,000 miles for about 6,000 miles. I am back to one quart every 1,100 miles. It

      rolled 103,000 miles today and there has been a noticeable engine tick for at least 50,000

      miles.” (Oct. 1, 2008)

     “I have a 2007 Chevy Avalanche with 65,000 miles on it now. I took it in at 38,000

      miles when I started noticing that it was burning oil and the oil light was coming on at

      anywhere between 1500 & 2500 miles after my oil change. The dealership took a look at

      it and said that I needed to do an oil consumption test. Well, I did that, they told me that

      the factory didn’t put on oil deflector, and that this would fix my problem. So I had them

      (under warranty) install the oil deflector. Sure enough, this didn’t fix it. So I took it back

      in, and I was told that I would have to do another oil consumption test. So I did that. . . .

      Turns out that there is a problem with the installation of the piston rings.” (Nov. 21,

      2011)

     “Our truck is using oil. We have been through the GM oil watch program and was told

      nothing is wrong. Last week were told the truck does have a problem, duh!” (Jan. 1,

      2009)

     “This truck has been burning oil about 1 ½ years after I bought it and has continued to do

      so faster and faster had to add 2 quarts 500 miles before my last oil change was even due.

      Dealer stated that there was some oil coming from spark plug number 7 so he cleaned it

      and put it back in. Oil consumption test is now in progress.” (Oct. 8, 2009)

     “My 2007 Chev. Avalanche is using over 2 qts of oil every 2500 miles. I had the

      Dealership run there oil consumption test also.” (Jan. 2, 2010)




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        “I am experiencing excessive oil consumption and the dealership installed a deflector in

         the oil plan. Along with the oil consumption, I also have what sounds like Piston Slap

         when it started for the first time everyday. . . .” (Mar. 9, 2010)

        “THIS OIL CONSUMPTION STUFF IS RIDICULOUS!!! I take my Avalanche in 5

         times for them to do the oil consumption test only to find out it has the same problem

         everyone else seems to have.” (Sept. 8, 2010)

         138.    Further, on www.carcomplaints.com, there are thirteen complaints regarding

excessive oil consumption from owners of 2008 Chevrolet Avalanches, equipped with the

Generation IV Vortec 5300.44 Excessive oil consumption is the most commonly listed problem

with the 2008 Avalanche. Exemplary complaints include:

        “This is the second time this has happened to me in less than six months where the

         vehicle has warned me to shut the car off because of the oil pressure.” (Jan. 21, 2016)

        “Dealing with Chevy and the dealership is the worst part. Neither will accept the fact

         that several others have the same issue. Neither will budge at all on parts cost.” (May 1,

         2015)

        “The fact that this seems to be a common issue and known by GM is extremely

         frustrating. I have noticed that my oil consumption has been getting worse over the last

         year, and then the engine light came on followed by the oil pressure dropping to 9 and

         getting a warning to shut off the engine. Had the oil changed and the lights went off and

         seemed to be okay, but then a few days later, while on the highway, the engine started

         making a loud banging noise, oil pressure dropped off again, and lights came back on.


44
   Consumer Reviews of 2009 Chevrolet Suburban, available at:
https://www.carcomplaints.com/Chevrolet/Avalanche/2008/engine/excessive_oil_consumption.s
html

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         Had to have it towed to a repair shop on a Saturday, now awaiting the wonderful news on

         how much this is going to cost me.” (Mar. 21, 2015)

        “During one of my oil changes, at around 30,000 miles, I noticed that there was only

         approx. 3.5 quarts of oil remaining when the pan and filter were drained. I began

         checking the oil every 1,000 and 1,500 miles between the next two oil changes. At every

         check the oil level was at or over 1qt low and oil was added . . . . I took the truck to the

         dealer and showed them my records. After having the truck for a couple of day’s the

         service manager called and said that they would be installing some sort of baffle in the oil

         pan and would be cleaning carbon from the cylinders. When the work was complete and

         I picked up the truck I was told to keep checking for oil consumption and maintain a log.

         The 1st check I made was approx. 1300 miles after the work was performed and the

         engine was over 1qt low. . . . Well they decided to install new rings and pistons.” (April

         1, 2011)

         139.   Further, on www.carcomplaints.com, there are 48 complaints regarding excessive

oil consumption from owners of 2007 Chevrolet Tahoes, equipped with the Generation IV

Vortec 5300.45 Excessive oil consumption is the most commonly listed engine problem with the

2007 Tahoe. Such complaints include:

        “Another complaint about the 2007 Chevy Tahoe excessive oil consumption issue. I took

         it in to an auto shop who told me they could ‘fix’ it and charged me &800-$1000. They

         said it was a ‘known issue’ but was not a recall. The issue continues and I’m out the

         cost! Plus I have to put 1-2 quarts in every 1500-2000 miles.” (Aug. 30, 2012)



45
   Consumer Reviews of 2007 Chevrolet Tahoe, available at:
https://www.carcomplaints.com/Chevrolet/Tahoe/2007/engine/excessive_oil_consumption.shtml

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        “A month after oil change this vehicle needs 2 quarts of oil! Dealer says it needs pistons

         and rings and that it’s a shame.” (Feb. 16, 2015)

        “2007 Tahoe . . . THERE NEEDS TO BE A LAWSUIT. Chevy knows about the

         problem of consumption of too much oil and they do NOTHING about it. . . . something

         needs to be done about this!!!! (Jan. 2, 2012)

         140.   Moreover, on www.carcomplaints.com, there are ten complaints regarding

excessive oil consumption from owners of 2008 Chevrolet Tahoes, equipped with the Generation

IV Vortec 5300.46 Excessive oil consumption is the most commonly listed engine problem with

the 2008 Tahoe. Such complaints include:

        “I have owned Chevys for 42 years, never has one of them burned as much oil as this

         one. I have been around cars most of my life, currently I own a service station where we

         see a lot of late model Chevys using oil. . . . I am told by my Chevy dealer they have

         replaced pistons to correct this problem. I feel Chevrolet should recall this problem . . . .”

         (Dec. 30, 2015)

        “I have had this Chevy Tahoe for 3 years now, I have had it serviced regularly without

         problem or so I thought. One morning my wife calls and says there was smoke coming

         out the exhaust I thought it might have been condensation. I drove it the next week and

         when I started it, it blew out a white smoke so I knew something was wrong. I checked

         the oil and it wouldn’t even show on the dip stick . . . . I took to chevy dealership and

         now I have to take it back every 1000 miles for them to check how much oil it is using.

         They have not told me anything to fix it no recalls or anything.” (Sept. 26, 2011)



46
   Consumer Reviews of 2008 Chevrolet Tahoe, available at:
https://www.carcomplaints.com/Chevrolet/Tahoe/2008/engine/excessive_oil_consumption.shtml

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        “We have 2 chevy Tahoe LTs with extras and both started to use oil, 2-4 qrts between oil

         changes. This is a bunch of bull and they better step up.” (Jan 2, 2012).

         141.   Further, on www.carcomplaints.com, there are fifteen complaints regarding

excessive oil consumption from owners of 2009 Chevrolet Tahoes, equipped with the Generation

IV Vortec 5300.47 Excessive oil consumption is the most commonly listed engine problem with

the 2009 Tahoe. Such complaints include:

        “What a load of crap! This is most disturbing. I have a 2009 Tahoe. . . . I just received

         the news that the pistons and rings will need to be replaced, due to oil leaking by. The

         engine light came on for the first time, and the car was sluggish at stops. We took it to

         the dealership right away. . . . What I got hung up on was the statement made by the

         service manager; ‘this is a known problem, and not specific to MY car.” (May 23, 2017)

        “On going issue, 5.3l engine has excessive oil consumption ¾ to 1 quart every 800-1000

         miles, seems to be getting worse. There are NO signs of leakage, average ½ a quart to a

         tank of fuel, also feels sluggish and seems to miss at times but no check engine light.”

         (Sept. 20, 2014)

         142.   Also, on www.carcomplaints.com, there are 22 complaints regarding excessive oil

consumption from owners of 2007 GMC Yukons and Yukon XLs, equipped with the Generation

IV Vortec 5300.48 Excessive oil consumption is the most commonly listed engine problem with

the 2007 Yukon. These complaints include:




47
   Consumer Reviews of 2008 Chevrolet Tahoe, available at:
https://www.carcomplaints.com/Chevrolet/Tahoe/2008/engine/excessive_oil_consumption.shtml
48
   Consumer Reviews of 2007 GMC Yukon, available at:
https://www.carcomplaints.com/GMC/Yukon/2007/engine/excessive_oil_consumption.shtml

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     “Engine is making rattle noises with full oil in sump. Also using oil at a high rate. Sounds

      like lifters or valves are shot. Heard this is a GM defect that has been known for these

      types engines in 2007 models. Any idea on fix would be great.” (Oct. 1, 2016)

     “I feel the same pain as everyone who has posted. It was using 2qts of oil between

      changes. Took it into local dealer in Little Rock and kept getting the song of, that is the

      way it was designed. . . . I guess that is the truth but it was a baaaad design. Eventually it

      keep losing oil pressure, changed out the 25 cent filter, changed out numerous oil sensors.

      The engine one day starts running extremely rough, so I took it to a local shop and they

      begin investigating. They find that GM has a suggested fix but not a recall. . . . . On the

      top of the engine there needs to be a new valve cover installed to prevent oil leaking into

      the idle cylinders. . . . On the bottom a deflector to prevent excessive oil splatter needs to

      be installed. . . . Now the kicker is that GM does not say that all the work will fix your

      engine but that it might improve it. . . . So I spent $3000 got it running and am still

      adding about 1 qt of oil every 3k miles.” (May 2, 2011)

     “I just want to say this is my second 07 model with this problem. Silverado 1500 is just

      as bad. After many oil consumption test I found thru my local dealer that the rings are

      leaking allowing oil to be burned. Changing the baffle in the oil pan, seals, etc. did

      nothing. . . . .Yet, silly me I bought an 07 Yukon. Needless to say it’s the same annoying

      cycle, except worse. It burns 4 quarts per 2000 miles!!!. . . . I want to warn that the more

      you add the more it burns. You may eventually get a check engine light and notice blue

      smoke out the exhaust pipes. The check engine light usually is a signal for the throttle

      body in this situation. If oil begins to puddle it’s going to cause slow to start, hesitate




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         acceleration, RPM’s that idle high, less fuel efficiency, and eventually a blown motor.”

         (Aug. 2, 2013)

        “This car is the biggest POS I have ever owned!!!!! . . . . This vehicle has spent more

         time in the service department than it has on the road. . . . Despite 100’s of attempts to

         contact GM about the excessive oil consumption issue I’ve been told by the dealer that

         there is nothing else that they can do, they have done everything that GM requires them

         to do to fix the issue. . . but it hasn’t fixed anything. . . . Now, I have 135k on my car . . .

         and my engine is toast!! It needs to be replace . . .no way around it. It ALWAYS stinks of

         burning oil . . . . .” (Oct. 12, 2011)

        “GM is aware of the problem. Fix it. 2-4 qts of oil every 3000 miles or so is not

         acceptable.” (Feb. 1, 2011)

         143.    Further, on www.carcomplaints.com, there are nine complaints regarding

excessive oil consumption from owners of the 2007 GMC Sierra 1500, equipped with the

Generation IV Vortec 5300.49 Such complaints include:

        “Oil consumption issue like many others, now my rings are bad and I have been told it is

         because oil consumption issue. (Oct. 15, 2008)

        “Infamous 5.3 burning oil . . . lots of it. 1 quart every 2-3000 miles. . . . . Seems like a lot

         of 5.3 owners are having this issue and not help from a dealer . . . every dealer I talked to

         says its normal.” (May 20, 2015)

        “I reported the issues while the truck was still covered under my extended warranty. The

         dealership ignored it and told me it was normal. Now that the warranty has expired, the


49
   Consumer Reviews of 2007 GMC Sierra 1500, available at
https://www.carcomplaints.com/GMC/Sierra_1500/2007/engine/excessive_oil_consumption.sht
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       issue is much worse and neither the dealership nor the ESP wants to be held completely

       responsible.” (May 24, 2012).

       144.   There is a multitude of additional excessive oil consumption complaints on

www.carcomplaints.com with respect to other Class Vehicles. These complaints include:

      “My pickup guzzles oil. When I took it to the Dealer they said they were aware of the

       problem. They said they had three band-aide solutions to try and if that did not work they

       replace the engine. . . . My complaint is that I purchased this pickup new and never

       received any recall or notice of any kind to let me know of this issue so I could deal with

       it before my warranty expired. I have used the prescribed oil and had the oil changed

       every 5,000 miles. On the current oil change alone I have used nearly 2 quarts in the first

       1500 miles! I bought this truck based on the advertising that they were the best built and

       longest lasting trucks with the best gas mileage. . . .” (2013 Chevrolet Silverado 1500,

       Nov. 1, 2016)

      “Took in for oil change, discovered almost no oil in engine. Low oil light never came on

       at all. Watching closely since then and have to add a quart on oil between 750 and 1000

       miles.” (2012 Chevrolet Silverado 1500, Aug. 25, 2014).

      “2011 Suburban. Oil consumption started 18-24 months ago. Twice #1 spark plug

       founded. Went through all the fixes. Had rings replaced, 8000 miles ago.” (2011

       Chevrolet Suburban, May 1, 2014)

      “Bought truck in Nov. 2016 have put 3 ½ quarts of oil so far. No leaks and is not

       smoking.” (2012 Chevrolet Suburban, Feb. 9, 2017)

      “Excessive oil usage that leads to spark plug issues. My vehicle is only 2 years old. At

       approximately 85000 miles on a car that is properly maintained it suddenly started to


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      burn out spark plugs. After numerous spark plug burns out and service appointments I

      was told that the engine is damaged because the number 1 cylinder was cracked and

      opening the engine was the only way to confirm how significant the issue was. . . .

      Overview of the many issues: Excessive oil usage spark plugs burning out or failing

      sluggish engine clicking noise in engine.” (2013 Chevrolet Suburban, Oct. 1, 2014)

     “Purchased a new, 2011 Chevy Avalanche LTZ. Beautiful vehicle and expected the

      same longevity I had with my 1998 Burb. Since my past two oil changes, I’m not sure

      that is going to happen. Around 16-17K miles, I took in for a standard oil change.

      Dealer mentioned I was a quart and a half low!. New car burning this kind of oil is

      unheard of in my book. . . . Started up yesterday, all the dash lights/warning start

      flashing, engine light comes on, truck is running like crap. Headed to the dealer and

      wasn’t really sure I’d make it. Dropped it, expressed my concern around oil again but

      told them to focus on the bigger issue. They called back in a couple hours and told me

      the cylinder walls were scored and that they were ordering a new engine!” (2011

      Chevrolet Avalanche, Dec. 1, 2013)

     “GM says the new pistons and rings will solve the oil consumption.” (2012 Chevrolet

      Avalanche, July 1, 2016)

     “Just met with GM’s District After Sales Manager and my GMC dealer’s Service

      Manager regarding excessive oil consumption by my GMC Sierra 1500 4-WD Crew Cab

      with 37000 miles. As you might guess, nothing accomplished. . . . Early 2012, I noticed

      the dipstick was dry and took truck to dealer for oil change. Closely monitored oil use

      thereafter and discovered need to top off with more than a quart every 200 miles during




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         normal driving . . . This should not be considered normal!” (2011 GMC Sierra 1500, Jan.

         1, 2014)

        “My 2009 Chevy Tahoe started consuming a lot of oil at about 68,000 miles. It uses up

         about 2 + quarts every 2000 miles. Chevy said that’s normal . . . really? Well when you

         don’t want to take responsibility for your design mistakes than we just call it normal and

         it goes away and we don’t have to fix it.” (2009 Chevrolet Tahoe, Aug. 4, 2014)

         145.    Class Vehicle owners have also extensively complained of excessive oil

consumption on other GM forums. For example, on the forum at www.GM-Trucks.com a thread

was started on July 8, 2011 entitled “Anyone Still Having Oil Consumption Problems on the

Afm 5.3.”50 The thread discusses oil consumption issues in the Generation IV Vortec 5300

Engines. That thread includes the following exemplary comments:

        “I had the deflector installed first . . . didn’t help. Then they replaced all the piston rings.

         They say that is the issue. It has only been 600 miles and I haven’t seen any oil lose, of

         course they over filled it by a good ½ quart.” (July 10, 2011)

        “Talked with a friend who is SM at GMC dealer just last week on this subject. New

         engine is far down the road right now. They will install new rings and pistons before that

         ever happens. He said they did one and so far things are looking better. He said the GM

         service advisors have their hands tied on what they can do, they have to follow what GM

         wants them to do and replacing the engine is not one of the options they have at the

         moment. That’s a decision the area service rep makes and as you can imagine, they are

         not going to make any snap decisions along those lines soon.” (July 11, 2011)



50
  GM-Trucks.com, available at http://www.gm-trucks.com/forums/topic/134276-anyone-still-
having-oil-consumption-problems-on-the-afm-53/

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         146.   On the forum at wwww.gminsidenews.com, a thread was started on October 29,

2011 entitled “My truck has the infamous 5.3 oil consumption problem.”51 The thread discusses

oil consumption problems with the Generation IV Vortec 5300 Engines. That thread includes

the following exemplary comments:

        “I actually brought my truck in for service to have the front end checked, as it makes a

         tremendous amount of racket on cold mornings.” (Oct. 29, 2011)

        “The AFM system is a joke on these engines. we see issues with them on a regular basis.

         Which would be daily. Anyways, 2 different fixes. Depending on what they do, you will

         either have the pistons and rings replaced, and possible have AFM lifters replaced as

         well, and a new VLOM, and oil deflector installed, or, they will do the piston soaking

         with Top engine cleaner, and install the oil deflector. More than likely, probably remove

         engine, replaced rings and pistons. Depending on which cylinder is the issue, may need

         lifters as well. Im sure they will replace the VLOM. Oil doesn’t have any affect on it, so

         conventional or synthetic doesn’t matter. They burn oil wither way. One thing I would

         do, always change oil every 3000 miles. Regardless of oil life monitor. Do not follow

         the oil life monitor. It is inaccurate. Be glad yours doesnt knock, see a few in for that

         problem as well, or misfires. Camshaft failure, lifters, etc.” (Oct. 29, 2011)

        “Ok, I too have the oil consumption in an 08 5.3l aluminum block. I bought it used at

         112k. I was told it had this issue and it had been ‘repaired’ at 100k by replacing the left

         valve cover. They said it fixed 90% of them, so I bought it. Dealership did a fresh oil

         change when I picked it up. 1600 miles later, I’m a qt & ½ low . . . .With all this being



51
  http://www.gminsidenews.com/forums/f53/my-truck-has-infamous-5-3l-oil-consumption-
problem-106584/

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          said, I called GMC and explained what had happened, so they sent me back to dealership

          to get another oil change and start oil consumption test. So, that’s where we are. I

          decided to pull that #7 plug today, badly coated with carbon, not to the point of miss, but

          well on its way.” (Dec. 2, 2012)

          147.    On the forum at www.gmtruckclub.com, a thread was started on April 11, 2012,

entitled “Oil Consumption Issue.”52 On information and belief, the thread discusses oil

consumption issues in the Generation IV Vortec 5300 Engines. The thread includes the

following exemplary comments:

         “So a couple months before I left in February, I noticed my truck was starting to get low

          on oil rather quickly. I didn’t find a leak anywhere, but my pressure kept getting really

          low and I’d have to add it in.” (April 11, 2012)

         “My story. Standard ‘low oil pressure, turn off engine.’ However, when I went to check

          the oil there was not a drop on the dipstick. I put in at least 3 qts of oil. No kidding. So I

          take it in and they are starting the ‘oil consumption test.’ This dealers service manager

          actually told me that it is normal for this engine to burn 1 qt of oil for the first 3000 miles.

          Thereafter 1 qt of oil for each additional 1000 miles. . . . I am at 65000 miles and have

          never experienced oil consumption like this.” (April 29, 2012)

          148.    On the forum at www.gmtruckclub.com, a thread was started on June 26, 2010,

entitled “5.3L’s that eat oil.”53 The thread discusses oil consumption issues in the Generation IV

Vortec 5300 Engines. The thread includes the following exemplary comments:




52
     http://www.gmtruckclub.com/forum/threads/oil-consumption-issue.88684/
53
     http://www.gmtruckclub.com/forum/threads/5-3ls-that-eat-oil.46470/

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        “Anyone else have one of the 5.3L’s that likes to eat oil? . . . I have a 2007 that has eaten

         2 quarts in less than 2,000 miles. I took it back to the dealership as I have just bought the

         truck May 5th. The service rep told me that I was not the only one that was having the

         problem and that GM was working on a fix.” (June 26, 2010)

        “Yes, I am having this same problem with my 2009 Silverado Crew Cab 4X4 with 5.3L

         with 36,000 miles on it. Mine just started smoking really bad whenever I would start it

         after it would sit there for a couple hours. And we aren’t talking about a little bit of

         smoke . . . it was a lot. So much so that everybody would always stop and look to see

         what was on fire. And you could smell the oil burning if you were anywhere close to it.”

         (July 27, 2012)

        “Mine uses 2 to 3 quarts between changes.” (July 30, 2012)

         149.   On the forum at www.gmtruckclub.com, a thread was started on December 4,

2012 entitled “Should i Trade my 2010 cc Z71 in re oil consumption.”54 The thread discusses oil

consumption issues in the Generation IV Vortec 5300 Engines. The thread includes the

following exemplary comments:

        “started having the elusive oil burning issue with my 2010 Chevy Crew Cab [Silverado]

         z71 5.3 aluminum block with the 6 speed and AFM. A fouled no 1 cylinder spark plug

         left me on the side of the road at 42,000 miles. Did oil consumption test and was ‘within

         spec’ at 1.5 quarts low during allotted time. Raised hell and am currently getting valve

         cover, oil deflector – blah blah blah done today. I’ve read just about every post on every




54
  http://www.gmtruckclub.com/forum/threads/should-i-trade-my-2010-cc-z71-in-re-oil-
consumption.107325/#post-524945

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         gm forum on this but nothing has been stated within the past 6 mos on actually fixing the

         issues. I know most ppl are having the rings/pistons changes.” (Dec. 4, 2012)

        “I have had the exact same problem on my 2010 with the 5.3 and 6 speed. Thanks to the

         poster who posted the service bulletin. I’m going to take it in next I’m at the dealership.”

         (Dec. 9, 2012)

         150.    On the forum at www.silveradosierra.,com, a thread was started on January 12,

2012 entitled “5.3 engine issues with fouled plugs.”55 The thread discusses oil consumption

issues in the Generation IV Vortec 5300 Engines. The thread includes the following exemplary

comment:

        “2010 Silverado CrewCab 5.3/6 speed transmission. The problem started in May 2011,

         started running rough and then check engine, service stabilitrak lights came on. Dealer

         said had a number 7 cylinder misfire condition and fouled plug. Replaced plugs and back

         in business. Oct 2011 began running rough again and check engine light came on.

         Dealer said had misfire and replaced all the spark plugs. Nov 211, oil level low light

         comes on, Dealer says there is a tech bulletin to add oil splash due to the AFM relief

         valve misdirecting oil and allowing oil to bypass rings and burn up. Bulletin completed

         and now beginning to run rough yet again. From a start it surges and sometimes after

         turning feels like the throttle goes flat. Gas pedal in the same position, just feels like lost

         power.” (Jan. 12, 2012)




55
  http://www.silveradosierra.com/vortec-5-3l-v8/5-3-engine-issues-with-fouled-plugs-
t8725.html

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       151.    In contrast to the plethora of vociferous complaints regarding excessive oil

consumption in the Class Vehicles, consumers have not had the same complaints regarding

competitor vehicles. A search on www.carcomplaints.com reveals the following:

      Model year 2007-2013 Ford F-150 – zero complaints regarding excessive oil

       consumption.

      Model year 2007-2013 Dodge Ram – three complaints regarding excessive oil

       consumption

      Model year 2007-2013 Ford Expedition – zero complaints regarding excessive oil

       consumption.

      Model year 2007-2013 Toyota Sequoia – zero complaints regarding excessive oil

       consumption.

      Model year 2007-2013 Ford Explorer – zero complaints regarding excessive oil

       consumption.

      Model year 2007-2013 Nissan Titan – one complaint regarding excessive oil

       consumption.

      Model year 2007-2013 Honda Ridgeline – five complaints regarding excessive oil

       consumption.

       152.    The unusual number of complaints regarding excessive oil consumption in the

Class Vehicles thus reveals that GM was aware of the Oil Consumption Defect. Indeed, GM has

known about this defect in its Generation IV Vortec 5300 Engines before, during, and after it

sold and leased the Class Vehicles to Plaintiff and the other Class members.




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G.     GM Trumpeted the Performance of the Generation IV Vortec 5300 Engines and
       Continuously Proclaimed That the Class Vehicles Were Dependable and of the
       Highest Quality, Concealing and Omitting the Oil Consumption Defect.

       153.    GM extensively advertised the performance benefits of the Generation IV Vortec

5300 Engines within the Class Vehicles. At all times relevant to this action, GM omitted and/or

concealed the Oil Consumption Defect. Indeed, at no point during the time period relevant to

this action did GM inform buyers and/or lessees of the Class Vehicles that the Generation IV

Vortec 5300 Engines in the Class Vehicles suffered from the Oil Consumption Defect that led to

significant oil consumption and resultant engine damage.

       154.    Likewise, GM repeatedly told consumers that the Class Vehicles were

dependable, long-lasting, and of the highest quality. In so doing, GM led consumers to believe

that the Class Vehicles would be free from defects that result in excessive oil loss and engine

damage.

       155.    In its brochures and advertisements for the Class Vehicles, GM consistently

touted the performance benefits of the Generation IV Vortec 5300 Engines.

       156.    For example, GM’s brochure for the 2013 Chevrolet Silverado advertises: “THE

MOST POWERFUL V8 ENGINES IN SILVERADO HISTORY” and claims that the 5.3L

engine “offers V8 fuel efficiency that’s unsurpassed in its class.”56

       157.    Similarly, GM’s brochure for the 2013 Chevrolet Tahoe advertises: “Great Power

Without Sacrifice,” and “fuel economy its competitors can’t beat.”57


56
   2013 Chevrolet Silverado brochure, available at
https://www.chevrolet.com/content/dam/Chevrolet/northamerica/usa/nscwebsite/en/Home/Help
%20Center/Download%20a%20Brochure/02_PDFs/MY13%20Silverado%201500%20eBrochur
e.pdf
57
   2013 Chevrolet Tahoe brochure, available at
https://www.chevrolet.com/content/dam/Chevrolet/northamerica/usa/nscwebsite/en/Home/Help
%20Center/Download%20a%20Brochure/02_PDFs/MY13%20Tahoe-
Suburban%20eBrochure.pdf

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       158.    Likewise, GM’s brochure for the 2010 Chevrolet Colorado advertises that:

“Chevy Colorado is up to the challenge with reliability and strength that delivers on a dollar. . . .

The available 5.3L V8 engine pumps out 300 horsepower and has better fuel economy than

Dodge Dakota. . . . Most important, every Colorado has the endurance and dependability you

expect from a Chevy truck.”58

       159.    GM’s brochure for the 2012 GMC Sierra advertises that: “[T]rue craftsmanship is

timeless. . . . That’s the same attitude that’s built into every Sierra. It’s why Sierra offers you

over 300 horsepower and 22 EPA-estimated highway miles per gallon in the same engine – V-8

fuel economy that no other competitor can beat. It’s why Sierra offers advanced technology like

Active Fuel Management, maximizing your engine’s performance to give you power and

efficiency as you need it. . . .When you need to rely on something to keep your life on course,

there is no substitute for professional grade engineering. GMC Sierra.”59

       160.    GM’s brochure for the 2011 Chevrolet Silverado states, “Silverado – the most

dependable, long-lasting full size pickups on the road.” It goes on to say, “There are three stages

of safety. Silverado takes every one as seriously as you do.”60

       161.    On August 29, 2011, GM’s website advertised: “Chevrolet provides consumers

with fuel-efficient, safe and reliable vehicles that deliver high quality, expressive design, spirited

performance and value.”61




58
   2010 Chevrolet Colorado brochure, available at http://www.auto-
brochures.com/makes/Chevrolet/Colorado/Chevrolet_US%20Colorado_2010.pdf
59
   2012 GMC Sierra brochure, available at http://www.auto-
brochures.com/makes/GMC/Sierra/GMC_US%20Sierra_2012.pdf
60
   https://www.auto-brochures.com/makes/Chevrolet/HHR/Chevrolet_US%20HHR_2010.pdf.
61
   https://media.gm.com/media/us/en/gm/news.detail/content/Pages/news/us/en/2014/Jul/0731-
mpg.

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         162.    One online ad for “GM certified” used vehicles that ran through April 5, 2010

stated that “GM certified means no worries.”

         163.    In April 2010, General Motors Company Chairman and CEO Ed Whitacre

proclaimed in a commercial that GM was “designing, building, and selling the best cars in the

world.”

         164.    A radio ad that ran during the time period relevant to this action stated that “[a]t

GM, building quality cars is the most important thing we can do.”

         165.    On November 10, 2010, GM published a video that told consumers that GM

actually prevents any defects from reaching consumers. The video, entitled “Andy Danko: The

White Glove Quality Check,” explains that there are “quality processes in the plant that prevent

any defects from getting out.” The video also promoted the ideal that, when a customer buys a

GM vehicle, they “drive it down the road and they never go back to the dealer.” 62

         166.    No GM brochure, advertisement, or other marketing materials for or relating to

the Class vehicles alerted customers to the Oil Consumption Defect and the problems arising

therefrom. Indeed, all such materials omitted the problem in all respects.

         167.    Moreover, in its public statements, GM consistently proclaimed that the Class

Vehicles were of the highest quality.

         168.    In its 2010 Annual Report, GM told consumers that it built the world’s best

vehicles:

         We truly are building a new GM, from the inside out. Our vision is clear: to
         design, build, and sell the world’s best vehicles . . . . Our plan is to steadily invest
         in creating world-class vehicles, which will continuously drive our cycle of great
         design, high quality and higher profitability.63


62
     https://www.youtube.com/watch?v=JRFO8UzoNho&list=UUxN-Csvy_9sveql5HJviDjA.
63
     GM 2010 Annual Report at 2.

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       169.    Likewise, in its 2010 Annual Report, GM represented that it had a “world-class

lineup” of vehicles.64

       170.    In a “Letter to Stockholders” contained in its 2011 Annual Report, GM noted that

its brand had grown in value and that it designed the “World’s Best Vehicles”:

               Design, Build and Sell the World’s Best Vehicles

       This pillar is intended to keep the customer at the center of everything we do, and
       success is pretty easy to define. It means creating vehicles that people desire,
       value and are proud to own. When we get this right, it transforms our reputation
       and the company’s bottom line. 65

       171.    In its 2012 Annual Report, GM boasted that:

       What is immutable is our focus on the customer, which requires us to go from
       “good” today to “great” in everything we do, including product design, initial
       quality, durability, and service after the sale.66

       172.    In its 2012 Annual Report, GM represented that product quality was a key focus:

       Product quality and long-term durability are two other areas that demand our
       unrelenting attention, even though we are doing well on key measures. 67

       173.    GM consistently promoted all its vehicles as reliable, and presented itself as a

responsible manufacturer that stands behind GM-branded vehicles after they are sold.

       174.    GM knowingly omitted and concealed information about material defects in the

Class Vehicles from the driving public, including Plaintiff and the other Class members, thereby

allowing unsuspecting vehicle owners and lessees to continue unknowingly driving defective

vehicles that were of diminished value and bound to cause costly problems.




64
   GM 2010 Annual Report at 12-13.
65
   GM 2011 Annual Report at 2
66
   GM 2012 Annual Report at 12.
67
   GM 2012 Annual Report at 10.

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H.         GM Intentionally and Actively Concealed the Oil Consumption Defect.

           175.     Knowing of the Oil Consumption Defect, GM opted to put company profits above

quality and safety.

           176.     Although GM knew that ring wear was causing excessive oil consumption, it did

not act to remedy this issue or provide its customers with an effective warranty repair. Instead,

GM’s TSBs required dealers to perform the ineffective piston cleaning and breakpoint

modifications before authorizing dealers to proceed with piston assembly replacement. Notably,

piston assembly replacement is significantly more costly ($2,700) than the cheaper “band-aid”

fixes ($574) that GM pushed on its dealers and customers.

           177.     In fact, as acknowledged by GM engineers in the Siqueiros Action, GM knew the

TSB repairs were ineffective.68

                      V.       TOLLING OF THE STATUTES OF LIMITATION

A.         Discovery Rule Tolling

           178.     Plaintiff could not have discovered through the exercise of reasonable diligence

that their Class Vehicles were defective within the time period of any applicable statutes of

limitation.

           179.     Neither Plaintiff nor the other Class members knew or could have known that the

Class Vehicles are equipped with Generation IV Vortec 5300 Engines with the Oil Consumption

Defect, which causes those engines to consume oil at an abnormally high rate and to sustain

engine damage resulting therefrom, until after Plaintiff’s counsel’s investigation into the Oil

Consumption Defect in late 2016.




68
     Siqueiros Action, ECF No. 237 at 28.

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B.     Fraudulent Concealment Tolling

       180.    Throughout the time period relevant to this action, GM concealed from and failed

to disclose to Plaintiff and the other Class members vital information about the Oil Consumption

Defect described herein.

       181.    Indeed, GM kept Plaintiff and the other Class members ignorant of vital

information essential to the pursuit of their claims. As a result, neither Plaintiff nor the other

Class members could have discovered the defect, even upon reasonable exercise of diligence.

       182.    Specifically, throughout the Class Period, GM has been aware that the Generation

IV Vortec 5300 Engines it designed, manufactured, and installed in the Class Vehicles contained

the Oil Consumption Defect, resulting in excessive oil loss and engine damage.

       183.    Despite its knowledge of the defect, GM failed to disclose and concealed, and

continues to conceal, this critical information from Plaintiff and the other Class members, even

though, at any point in time, it could have done so through individual correspondence, media

release, or by other means.

       184.    GM affirmatively and actively concealed the Oil Consumption Defect when it

issued the TSBs, described above, that instructed dealers to offer purported repairs that it knew

would not cure the Oil Consumption Defect.

       185.    Plaintiff and the other Class members justifiably relied on GM to disclose the Oil

Consumption Defect in the Class Vehicles that they purchased or leased, because that defect was

hidden and not discoverable through reasonable efforts by Plaintiff and the other Class members.

       186.    Thus, the running of all applicable statutes of limitation have been suspended with

respect to any claims that Plaintiff and the other Class members have sustained as a result of the

defect, by virtue of the fraudulent concealment doctrine.



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C.      Estoppel

        187.    GM was under a continuous duty to disclose to Plaintiff and the other Class

members the true character, quality, and nature of the defective Generation IV Vortec 5300

Engines.

        188.    GM knowingly concealed the true nature, quality, and character of the defective

Generation IV Vortec 5300 Engines from consumers.

        189.    Based on the foregoing, GM is estopped from relying on any statutes of

limitations in defense of this action.

                             VI.   CLASS ACTION ALLEGATIONS

        190.    Plaintiff brings this action pursuant to Rules 23(a), 23(b)(2), and 23(b)(3) of the

Federal Rules of Civil Procedure on behalf of himself and all others similarly situated.

        191.    Plaintiff also respectively seeks to represent the following class (“the Class”):

        All current and former owners or lessees of a Class Vehicle (as defined herein)
        that was purchased or leased in the State of Oregon

        192.    Excluded from the Class are Defendant General Motors LLC and any of its

members, affiliates, parents, subsidiaries, officers, directors, employees, successors, or assigns;

the judicial officers, and their immediate family members; and Court staff assigned to this case.

Plaintiff reserves the right to modify or amend the Class definition, as appropriate, during the

course of this litigation.

        193.    This action has been brought and may properly be maintained on behalf of the

Class proposed herein under the criteria of Rule 23 of the Federal Rules of Civil Procedure.

        194.    Numerosity – Federal Rule of Civil Procedure 23(a)(1). The members of the

Class are so numerous and geographically dispersed that individual joinder of all class members

is impracticable. While Plaintiff is informed and believes that there are thousands of members of


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the Class, the precise number of Class Members is unknown to Plaintiff, but may be ascertained

from GM’s books and records. Class Members may be notified of the pendency of this action by

recognized, Court-approved notice dissemination methods, which may include U.S. Mail,

electronic mail, Internet postings, and/or published notice.

       195.    Commonality and Predominance – Federal Rule of Civil Procedure 23(a)(2)

and 23(b)(3). This action involves common questions of law and fact, which predominate over

any questions affecting individual Class members, including, without limitation:

       a.      whether GM engaged in the conduct alleged herein;

       b.      whether GM’s alleged conduct violates applicable law;

       c.      whether GM designed, advertised, marketed, distributed, leased, sold, or

       otherwise placed the Class Vehicles into the stream of commerce in the United States;

       d.      whether GM misled Class members about the quality of the Generation IV Vortec

       5300 Engines in the Class Vehicles;

       e.      whether the Generation IV Vortec 5300 Engines contain the Oil Consumption

       Defect alleged herein;

       f.      whether GM had actual or imputed knowledge about the alleged defect but failed

       to disclose it to Plaintiff and the other Class members;

       g.      whether GM’s omissions and concealment regarding the quality of the Class

       Vehicles were likely to deceive Class members in violation of the Oregon Unlawful

       Trade Practices Act;

       h.      whether GM breached its express warranty to the Class members with respect to

       the Class Vehicles;




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       i.      whether Class members overpaid for their Class Vehicles as a result of the defect

       alleged herein;

       j.      whether Class members are entitled to damages, restitution, restitutionary

       disgorgement, equitable relief, statutory damages, exemplary damages, and/or other

       relief; and

       k.      the amount and nature of relief to be awarded to Plaintiff and the other Class

       members.

       196.    Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims are

typical of the other Class members’ claims because Plaintiff and the Class members purchased or

leased Class Vehicles that contain defective Generation IV Vortec 5300 Engines. Neither

Plaintiff nor the other Class Members would have purchased the Class Vehicles, or would have

paid less for the Class Vehicles, had they known of the Oil Consumption Defect in the

Generation IV Vortec 5300 Engines. Plaintiff and the other Class members suffered damages as

a direct proximate result of the same wrongful practices in which GM engaged. Plaintiff’s

claims arise from the same practices and course of conduct that give rise to the claims of the

other Class members.

       197.    Adequacy of Representation – Federal Rule of Civil Procedure 23(a)(4).

Plaintiff is an adequate Class representative because his interests do not conflict with the

interests of the other members of the Class that he seeks to represent, Plaintiff has retained

counsel competent and experienced in complex class action litigation, and Plaintiff intends to

prosecute this action vigorously. The Class’s interests will be fairly and adequately protected by

Plaintiff and his counsel.




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       198.    Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2).

GM has acted or refused to act on grounds generally applicable to Plaintiff and the other Class

members, thereby making appropriate final injunctive relief and declaratory relief, as described

below, with respect to the Class members as a whole.

       199.    Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is

superior to any other available means for the fair and efficient adjudication of this controversy,

and no unusual difficulties are likely to be encountered in the management of this class action.

The damages or other financial detriment suffered by Plaintiff and the other Class members are

relatively small compared to the burden and expense that would be required to individually

litigate their claims against GM, so it would be impracticable for the Class members to

individually seek redress for GM’s wrongful conduct. Even if the Class members could afford

litigation the court system could not. Individualized litigation creates a potential for inconsistent

or contradictory judgments, and increases the delay and expense to all parties and the court

system. By contrast, the class action device presents far fewer management difficulties, and

provides the benefits of single adjudication, economy of scale, and comprehensive supervision

by a single court.

                                 VII.    CLAIMS FOR RELIEF

                                  COUNT 1
       VIOLATIONS OF THE OREGON UNLAWFUL TRADE PRACTICES LAW
                       Or. Rev. Stat. §§ 646.605, et seq.

       200.    Plaintiff repeats and realleges paragraphs 1-199 as if fully set forth herein.

       201.    Plaintiff brings this Count individually and on behalf of the other members of the

Oregon Class (the “Class,” for purposes of this Count).

       202.    GM, Plaintiff, and the Class are “person[s]” under Or. Rev. Stat. § 646.605.

       203.    GM engaged in “trade” or “commerce” under Or. Rev. Stat. § 646.605.
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       204.    The Oregon Unlawful Trade Practices Law broadly prohibits “unfair or deceptive

conduct in trade or commerce.” Or. Rev. Stat. § 646.608(u).

       205.    By the conduct described in detail above and incorporated herein, GM engaged in

unfair or deceptive conduct in violation of the Oregon Unlawful Trade Practices Law.

       206.    GM was aware of the Oil Consumption Defect within the Generation IV Vortec

5300 Engines as early as 2008, long before it marketed and sold the Class Vehicles to Plaintiff

and the other Class members.

       207.    GM did not disclose the Oil Consumption Defect, and actively concealed the Oil

Consumption Defect from Plaintiff and the other Class members.

       208.    In 2010, aware of the Oil Consumption Defect and faced with increasing

consumer complaints about excessive oil consumption in the Generation IV Vortec 5300

Engines, GM released the first of many TSBs that ostensibly addressed the issue.

       209.    As discussed above, the TSBs directed dealerships, upon complaint of oil

consumption in the Generation IV Vortec 5300 Engines to perform a piston cleaning procedure

and relatively minor modifications, which GM knew did not truly address the Oil Consumption

Defect. GM continually released these TSBs through 2014.

       210.    The TSBs did not disclose the Oil Consumption Defect or disclose that the

Generation IV Vortec 5300 Engines were inherently defective.

       211.    GM’s TSBs created a false impression as to the cause of excessive oil

consumption in the Class Vehicles, and the severity of the problem. In so doing, these TSBs

covered up the truth of the Oil Consumption Defect and removed opportunities that might have

led to the disclosure of the Oil Consumption Defect.




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       212.    Further, GM actively concealed the Oil Consumption Defect by not disclosing the

defect in its marketing materials regarding the Class Vehicles and not disclosing the Oil

Consumption Defect to its dealers.

       213.    For the reasons set forth above, the Oil Consumption Defect within the

Generation IV Vortec 5300 Engines comprises material information with respect to the sale or

lease of the Class Vehicles.

       214.    GM intended to deceive Plaintiff and the other Class members through its active

concealment, and intended for Plaintiff and the other Class members to rely on GM’s omissions

regarding the Oil Consumption Defect.

       215.    Plaintiff and the other Class members justifiably acted or relied to their detriment

upon GM’s omissions of fact concerning the above-described Oil Consumption Defect that

results in abnormally high oil consumption and resultant engine damage within the Generation

IV Vortec 5300 Engines, as evidenced by Plaintiffs and the other Class members’ purchases of

Class Vehicles.

       216.    Had GM not actively concealed the Oil Consumption Defect or disclosed all

material information regarding the Oil Consumption Defect to Plaintiff and the other Class

members, Plaintiff and the other Class members would not have purchased or leased Class

Vehicles or would have paid less to do so.

       217.    GM’s omissions and active concealment have deceived Plaintiff, and those same

business practices have deceived or are likely to deceive members of the consuming public and

the other members of the Class.




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                                            COUNT 2
                             BREACH OF EXPRESS WARRANTY
                             Or. Rev. Stat. §§ 72.3130 and 72a.2100

       218.     Plaintiff repeats and realleges paragraphs 1-199 as if fully set forth herein.

       219.     Plaintiff brings this Count individually and on behalf of the other members of the

Oregon Class (the “Class,” for purposes of this Count).

       220.     GM is and was at all relevant times a “merchant” with respect to motor vehicles

under Or. Rev. Stat. §§ 72.1040 and 72.1030, and a “seller” of motor vehicles under § 72.1030.

       221.     With respect to leases, GM is and was at all relevant times a “lessor” of motor

vehicles under Or. Rev. Stat. § 72a.1030.

       222.     The Class Vehicles are and were at all relevant times “goods” within the meaning

of OR. Rev. Stat. 72.1050 and 72a.1030.

       223.     In its Limited Warranty, GM expressly warranted that it would repair or replace

defects in material or workmanship free of charge if they became apparent during the warranty

period. GM provides the following language in its 2012 Chevrolet Limited Warranty guide:

       224.     This warranty is for GM vehicles registered in the United States and normally

operated in the United States and Canada, and is provided to the original and any subsequent

owners of the vehicle during the warranty period.

       225.     As stated in the Limited Warranty guide, “[t]he warranty covers repairs to correct

any vehicle defect, not slight noise, vibrations, or other normal characteristics of the vehicle

related to materials or workmanship occurring during the warranty period.”

       226.     As further state, warranty repairs, including towing, parts, and labor, will be made

at no charge.




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       227.    GM’s Limited Warranty formed the basis of the bargain that was reached when

Plaintiff and the other Class members purchased or leased their Class Vehicles equipped with the

defective Generation IV Vortec 5300 Engines.

       228.    GM breached the express warranty to repair “any defect” by failing to repair the

Oil Consumption Defect.

       229.    Further, to the extent that the Limited Warranty is construed to be limited to

vehicle defects related to materials or workmanship, GM has breached the Limited Warranty.

       230.    The Oil Consumption Defect is a uniform design defect that is related to

materials.

       231.    Specifically, the rings in the Class Vehicles are materials and they suffer from

inordinate wear, as explained above, and the ring coatings, which is also a material, that GM

used in the Class Vehicles fail to prevent that wear.

       232.    GM has not repaired, and has been unable to repair, the Oil Consumption Defect.

       233.    GM was provided notice of the Oil Consumption Defect through numerous

complaints filed against it directly and through its dealers, as well as its own internal engineering

knowledge.

       234.    Furthermore, the Limited Warranty fails in its essential purpose because the

contractual remedy is insufficient to make Plaintiff and the other Class members whole and

because GM has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.

       235.    Accordingly, recovery by Plaintiff and the other Class members is not limited to

the limited warranty of repair to parts defective in materials and workmanship, and Plaintiff,

individually and on behalf of the other Class members, seeks all remedies as allowed by law.



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       236.    Also, as alleged in more detail herein, at the time that GM warranted and sold the

Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were

inherently defective, and GM improperly concealed material facts regarding its Class Vehicles.

Plaintiff and the other Class members were, therefore, induced to purchase or lease the Class

Vehicles under false pretenses.

       237.    Moreover, much of the damage flowing from the Class Vehicles cannot be

resolved through the limited remedy of repairs, as those incidental and consequential damages

have already been suffered due to GM’s improper conduct as alleged herein, and due to its

failure and/or continued failure to provide such limited remedy within a reasonable time, and any

limitation on Plaintiff’s and the other Class members’ remedies would be insufficient to make

Plaintiff and the other Class members whole.

       238.    As a direct and proximate result of GM’s breach of express warranty, Plaintiff and

the other Class members have been damaged in an amount to be determined at trial.

                                       COUNT 3
                               FRAUDULENT CONCEALMENT

       239.    Plaintiff repeats and realleges paragraphs 1-199 as if fully set forth herein.

       240.    Plaintiff brings this Count individually and on behalf of the other members of the

Oregon Class (the “Class,” for purposes of this Count).

       241.    GM was aware of the Oil Consumption Defect within the Generation IV Vortec

5300 Engines as early as 2008, long before it marketed and sold the Class Vehicles to Plaintiff

and the other Class members.

       242.    GM did not disclose the Oil Consumption Defect, and actively concealed the Oil

Consumption Defect from Plaintiff and the other Class members.




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       243.    In 2010, aware of the Oil Consumption Defect and faced with increasing

consumer complaints about excessive oil consumption in the Generation IV Vortec 5300

Engines, GM released its first of many TSBs that ostensibly addressed the issue.

       244.    As discussed above, the TSBs directed dealerships, upon complaint of oil

consumption in the Generation IV Vortec 5300 Engines to perform a piston cleaning procedure

and relatively minor modifications, which GM knew did not truly address the Oil Consumption

Defect. GM continually released these TSBs through 2014.

       245.    The TSBs did not disclose the Oil Consumption Defect or disclose that the

Generation IV Vortec 5300 Engines were inherently defective.

       246.    GM’s TSBs created a false impression as to the cause of excessive oil

consumption in the Class Vehicles, and the severity of the problem. In so doing, these TSBs

covered up the truth of the Oil Consumption Defect and removed opportunities that might have

led to the disclosure of the Oil Consumption Defect.

       247.    Further, GM actively concealed the Oil Consumption Defect by not disclosing the

defect in its marketing materials regarding the Class Vehicles and not disclosing the Oil

Consumption Defect to its dealers.

       248.    For the reasons set forth above, the Oil Consumption Defect within the

Generation IV Vortec 5300 Engines comprises material information with respect to the sale or

lease of the Class Vehicles.

       249.    In purchasing the Class Vehicles, Plaintiff and the other members of the Class

reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.




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       250.    Had Plaintiff and the other members of the Class known of the Oil Consumption

Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class

Vehicles or would have paid less for the Class Vehicles.

       251.    Through its active concealment of the Oil Consumption Defect within the

Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the

other Class members to either purchase a Class Vehicle that they otherwise would not have

purchased, or pay more for a Class Vehicle than they otherwise would have paid.

       252.    As a direct and proximate result of GM’s active concealment, Plaintiff and the

other members of the Class either overpaid for the Class Vehicles or would not have purchased

the Class Vehicles at all if the Oil Consumption Defect had been disclosed to them, and,

therefore, have incurred damages in an amount to be determined at trial.

                                        COUNT 4
                                   UNJUST ENRICHMENT

       253.    Plaintiff repeats and realleges paragraphs 1-199 as if fully set forth herein.

       254.    Plaintiff brings this Count individually and on behalf of the other members of the

Oregon Class (the “Class,” for purposes of this Count).

       255.    GM has benefitted from selling and leasing at an unjust profit defective Class

Vehicles that had artificially inflated prices due to GM’s concealment of the Oil Consumption

Defect, and Plaintiff and the other members of the Class have overpaid for these vehicles.

       256.    GM has received and retained unjust benefits from Plaintiff and the other

members of the Class, and inequity has resulted.

       257.    It is inequitable and unconscionable for GM to retain these benefits.




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            258.   Because GM concealed its fraud and deception, Plaintiff and the other members

of the Class were not aware of the true facts concerning the Class Vehicles and did not benefit

from GM’s misconduct.

            259.   GM knowingly accepted the unjust benefits of its wrongful conduct.

            260.   As a result of GM’s misconduct, the amount of its unjust enrichment should be

disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven

at trial.

                                        REQUEST FOR RELIEF

            WHEREFORE, Plaintiff, individually and on behalf of the other members of the Class he

seeks to represent, respectfully requests that the Court enter judgment in his favor and against

Defendant, General Motors LLC, as follows:

            1. Declaring that this action is a proper class action, certifying the Class as requested

               herein, designating Plaintiff as Class Representative, and appointing Plaintiff’

               attorneys as Class Counsel;

            2. Enjoining GM from continuing the unfair business practices alleged in this Complaint;

            3. Ordering GM to pay actual and statutory damages (including punitive damages) and

               restitution to Plaintiff and the other Class members, as allowable by law;

            4. Ordering GM to pay both pre- and post-judgment interest on any amounts awarded;

            5. Ordering GM to pay attorneys’ fees and costs of suit; and

            6. Ordering such other and further relief as may be just and proper.

                                             JURY DEMAND

            Plaintiff hereby demands a trial by jury on all issues so triable.




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DATED: October 20, 2020             /s/ Kim D. Stephens
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                               CERTIFICATE OF SERVICE

I hereby certify that on October 20, 2020, I electronically filed the foregoing PLAINTIFF’S

FIRST AMENDED CLASS ACTION COMPLAINT with the Clerk of Court using the

CM/ECF system which will send notification of such filing to all counsel of record.

                                                    s/Kim D. Stephens
                                                    Kim D. Stephens, OSB #030635



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